(FILED: BRONX 12/22/2021 03:15 YN)

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RYSCEF DOC. NO. Gagerl:24-cv-04108-ALC Document 3-20 Filed 05/30/24 iin iti 12/22/2022

COURT OF THE STATE OF NEW YORK COUNTY
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BENJAMIN LAMB
Ces Le. Linenselt: 107 1a92
(AF Sw hE J att 1 Process S.
foliste A’ Cyran eee S88 a cess Service, Ine) | |

obi2uBe
| Son te ae Tn
Plaintiffs): CAPITAL ONE BANK (USA),NA
Defendani(s); re SANDRA G CORTEZJOHNSON |
NEW YORK | I |
WESTCHESTER a8. HHH |

BENJAMIN LAMB, the usdersigned, boing sworm, deposes and says:
Iam ever tha ageof 1b saan pallieaa pac atiecien TER tisha cL, York.

On 12/13/2021 at 11:35 AM, | served the within SUMMONS AND COMPLAINT with the index#CV-18079-21/8X
endorsed thereon

oa SANDRA G CORTEZJOHNSON a 120 EINSTEIN LOOP APT 15A , BRONX, NY 10475
in the manner Indicated below:

COR TEE O LM a civering thereat true copy of tach to Liisa F., co-resident of SANDRA G

a 0 of suitable age and discretion, Said premises |s SANDRA G CORTEZJOHNSON's
usual place of abode the slate.

On 12/15/2021, deposem enclosed a copy of same in a first class postpaid envelope bearing the words “Personal &
Confidential” addressed to defeadunt and defendant's last knowm residence, at 120 EINSTEIN LOOP APT
15A,, BRON Y 10475 and de said cnvelope in an officiul depository under the exclusive care and custody
of the US. Postal Service within York State, Tho envelope did not indicate on the outside ear return
address or otherwise, that the communication was from an attorney or concermed an uction against the écfendant,

A description of the Recipiont, or other person served on belulf of the Recipsert is as follows:

Sex Color of skin Color of hair Age Height Weight
Female Brown Brown 32 St Din - Stt Sim 31-160
Other Foatures:

1 paked the person spoken to whether he/she Defendant ons in the active mittary service of the United States of of the
State of New York in any capacity whatever and reecaved a begative reply. The source af my ingormation and belief ore
the conversations above narrated. Upon informution and belief | aver that the recipient t not in the military service of |
New York State or af the United Sues ow thot term & defined in vither the State or in the Hederal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 12/15/2021 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN A FIRST CLASS POSTPAID
ENVELOPH ADDRESSED TO DEFENDANT A'T DEFENDANT'S PLACE OF RESIDENCE AT 120
EINSTEIN LOOP APT ISA, BRONX, NY 10475 AND DEPOSTTING SAID ENVELOP®. IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THI UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL. AND CONPIDENTIAL” AND DID NOT

INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY |
OR CONCERNS AN ALLEGED DEBT,

a
Sworn 10 and subserithed before me on 12/1572024 x ff. at

‘AVL Nowth Broadway Ste IR | |
Notury Public, State OF New York N. White Plains SY L0G)
No. PICYGI28619 914-8)8. 10690
Qualified in WESTCHESTER | DCA Licensed: 202747! |
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AFFIDAVIT OF SERVIC |
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1} PH HII
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Pialntiff(s): Midland Credit htanagement, lac | | |
ve. |
Defeadast(s): _ JENNIFER MARTINEZ _ 1 | LOA
| lait
NEW YORK Ah MM LM MAA ee
WESTCHESTER

5S.: A Mh {|

BENJAMIN LAMB, the undersigned, being duly swom, deposce and ll iy
Near ié pan aaen cuanto eae Tarkio bo ts siete of low York. | |

Oa 12/13/2021 at 11153 AM, I served the within SUMMONS AND COMPLAINT with the Index#CV-18075-21/0X |
endorsed thereon oo JENNIFER MARTINEZ 120 ERDMAN PL APT 14C , BRONX, NY 10475 im the manner, |

indicated below: (ir)
SUITABLE AGE; by deli ne cach to Jane Doe ee name), co-realdent of JENNIFER {i
MARTINEZ, 4 person of sui Papas ara om, Sad premises is JENNIFER MARTINEZ's usual place of
abode within the state. tJ
On 12/15/2021, depoment enclosed 4 of same In a first class postpaid envelope the words "Personal &
Confidential” ay aaareinad to de and defendant's last known residence, at 120 ERDMAN PL APT 14C,

BRONK, NY 10475 and eee said envelope in un official d itory under the exclusive care and cussody of the,
US. Postal Service within New York Stale. The cnvelope did not indicate on the outside theroof, by return badross ox |
otherwise, that the communication was from an allomey or concemed an action agains! the defendant.

A description of the Recipient, or other person served on behalf of the Recipient is ax follows:

Sex Color of skin [Color ofhnie A Height Weight
Female Brown Blonde 34 Sf Ola « Sti Jin 131-148
Other Features: accent

| asked the porion # to whether he/she Defendant was in the active military service of the United States or of the

State of New York in any capacity whatever and received a ive reply. The source of my inforrnatios and belief are

the conversations above narrated. Upon informution and belief f aver that the recipient is aot in the military service of Hii
New York State or of the United States as chat tenm is defined in cither the State or in the Federal statules

ADDITIONAL MAILING PURSUANT TO 3215

LX COMPLIANCE WITH CPLK 3215, on 12/142021 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID

KNVELOPE ADDRESSED T0 DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE A'T 120

KRDMAN PL APT 14C, BRONX, NY (0475 AND DEPOSETING SAID ENVELOPE IN AN OFFICIAL Hit
DEPOSITORY UNDER TEE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST H ||
OFFICE, THE ENVELOPE BORE THE LEGUND "PERSONAL AND CONFIDENTIAL” AND DID NOT | |
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WASFROM AN ATTORNEY

OR CONCERNS AN ALLEGED DEBT. Wi

Sworn to und subseribed before me on 12/1802) x hs. “||

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BENJAMIN LAMB | |
WY Livomsot#: 1071492 | |
hk fobebe 7# ETAL A ak Proce Servic, tng | | ht A

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No. OIC Y6228619 914-325-109 Phat ji it 1
Qualified in WESTCHESTER | | DCA Livenset 202747) | PAMELA an aa |

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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
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APFIDAVIT OF SERVICE | | )
| | Index 20 : CV-18083-28X
| Date Index Nomber Purchased: 11/18/2021 |
HN SU | it
Plaintiffs): TD BANK USA, NA. | | | | |
se ; | i : :

WESTCHESTER #3 |

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BENJAMIN LAMB, the unders duly sworn, and saya: |
lam over the igh of 1 $oeeb und son py hs Hoe BOGUT Catala mova ane Maus Nl

On 12/13/2021 al 12:35 PM, I served tho within SUMMONS AND COMPLAINT with dhe Index#C V-18085.218X (|
endorsed therece: on FACHNM, C RERNANDES, at 109 DERG PLETE 25) ROW, MY BOTS in the manner |
indicated below:

SUITABLE AGE: by delivering (horeat a ue copy of cach to Javier D., co-resident of JACINDA C HERNANDEZ, | |
a person of suitable age and discretion. Said premises is JACINDA C HERNANDE&Z’s asual place of abode within the

state,
On 12/15/2021, deponemt encloacd a of same in a first class postpaid envelope the words “Personal d& |
Confidential” y addressed to defendant and defendant's Just known residence, at 100 DEBS PL APT 2E,

BRONX, NY 1 and deposited said envelope in an officin) depository under the exclusive care and ae une
US. Postal Service within York State. The envelope did not indicate en the outside thercef, by return sor
otherwise, that the communication was from an attorney or concerned iin uction againat the defendant.

A description of the Recipient, or other person served on behalf of the Recipient is ax fellows:

Sea Color of skin Color of hair Age Height Weight
Male Brown Hlack 35 St Tin - St Dim 131-160
Other Featercs: accent, gowtec

tanked the person spokes to whether he/she Defendant wns in the active military service of the United States or uf the
State of New York in any capacity whutever and received a negative reply. The squrce of my information and belicf are
the conversations above narrated Upon informution and belief T ayer that the recipient is nat in the military service of
New York State or of the United Stutes ai that term is defimed im cithes the State ar in the Pederal statutes,

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLK 3215, on 12/15/2021 DEPONENT GAVE ADDITIONAL NOTICE OF TILIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN A FIRST CLASS POSTPAID

ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANTS PLACE OF KESIDENCE AT 109 DEBS FL.
APT 2K, BRONX, NY 16475 AND DEIMOSITING SALD ENVELOPE IN AN OFFICIAL DEPOSITORY
UNDER THI EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE
ENVELOPE BORK THE LEGEND “PERSONAL AND CONFIDENTIAL” AND DID NO'T INDICATE ON
THE OUTSIDE THERPOF TRAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS

AN ALLEGED DERT,
Sworn to anc subscribed thefore me on 12/1 5Q021 XN If i a v”?

Notary Public, Sine Of New York N Whitt Fluins, NY 11605 | i
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RECEIVED MYSCEF; 12/22/2

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mere | Index no : C¥-18000-21/8X
Date Indes, Number Purchased: 11/16/2021
| —
Piminei f(a): TD BANK USA, NA.
vs.
Defencant(s): GENESIS MORAN ARNAUD

WESTCHESTER ss:

ENJAMIN LAMB, the undersigned, be: sworn, Geposes amd says:
eee ey eect te saste enbecte tees a te otae Title ic team elton Vuk

11:24 AM, [ served the within SUMMONS AND COMPLAINT with the index®C V-18000-21/BX
imc eee - on GENESIS MORAN ARNAUD # 2141 HOLLAND AVE APT 4A , BRONX, NY 10462 in
the manner indicated below:

ITABLE AGB: by delivering thereat a true ert reeek rete nace ean erccee
ARNAUD. a ement of suitable age and discretion. Suid premiscs & GENESIS MORAN ARNAUD's usual place of

abode within the staic.
On 12/15/2021, doponemt caclosed a copy of same in a first class postpaid envelape bearing the words "Personal &

4A , BRONX, NY 1 and deposited said envelope in en official deposilory under the exclusive care anki custody of
the U.S. Postal Service within New York State, ‘The envelope did not indicate on the outside thereof, by return address
or otherwise, that the communication was from un atlomey or concerned wa action against the defendant,

A description of the Recipient, or other person served on behalf of the Recipient is as follows:

Confidential* ackiressed to defendant end defendant's last known residence, at 2141 HOLLAND AVE APT

Sex Color of skin Color of hair Age Height Weight
Male Brows Black 3» Sft 4in - Slt Gin 131-160

Other Realures: accent

1 asked the person spaken to whether he/she Defendant was in the active tilitury service of the United States or of the
State of New York in any capacity whatever and received a negative reply. ‘The source of my information and belief are
the conversations ubove narrated. Upon information and belief | aver that che recipicat is not in the military service of

New York State or of the United States ax thut term is defined in cither the State or in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 12/15/2021 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF TILE SAID SUMMONS IN A FI RST CLASS POSTPAID
ENVELOPE ADDRESSED 10 DEFENDANT AT DEFENDANT'S PLAC F. OF RESIDENCE AT 214!

HOLLAND AVE API 4A, BRONX, NY 10462 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF TIL, UNITED STATES POST

OFFICE, THE ENVELOPE BORE THE LEGEND "PERSONAT, AND CONFIDENTIAL" AND DID NOT

INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICA TION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED DEBT,

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; i BLNIAMIN LAMB
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Miclissa A, Cyran

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Notary Public, State Of New York ft N. White Mains NY 106)9 biti
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DCA Licenset: 42471 i Ny}
| Branch: White Plains

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| | Qualified In WESTCHESTER

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Ml HI MM eer in sanaeeat |
Plaiatiff(s): DEPARTMENT STORES NATIONAL BANK |
| Defendant(s): MICH ALDARONDO | |

NEW YORK Hi
WESTCHESTER 38: | |

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says: VIN IA
Laan caval th seated eld eanistic a kas as cee tee | | \

On 12/14/2021 at 12:09 PM, I served the withio SUMMONS AND COMPLAINT with the index#CV-18082-21/BX |
endorsed thereon on MICH ALDARONDO at 69¢ RHINELANDER AVE APT 4C , BRONX, NY 10462 in the |
tuner indicated below: ;

SUITABLE AGE: by delivering thereat a true copy of each 10 June Doe (refused name), co-resident of MICH | |

ALDARONDO, o person of suitable age and discretion, Said premises |s MICH ALDARONDO's uzaal place of
abode within the ste, |

On 12/15/2021, deponent enclosed a of saane ina first class posipaid envelope bearing the words “Personal &

Confidential” p y addressed to and defendant's last known residence, a 690 RHINELANDER AVE |
APT 4C , BRONX, NY 10462 and deposited said envelope in an official depasitory under the exclusive care and |
custay of the U.S. Postal Service within New York State. ‘The envelope did not indicate on the outside thereof, by

return address of otherwise, thus the communication was from an uttorney of concerned an action agaiast the defendant.
A descrpiion of the Reciptent, or other person served on behalf of the Recipient is ax follows:

Sex Colors of skin Color of hair Age Heagha Weight i
Kemale Brown Brown 34 St 4in - 5ft fin 161.200
Onver Fentures:

l asked the person spaken to whether he/she Defendant was inthe active military service of the Ualied Sues or of the |
Stute of New York in any capacity whatever and reecived « acgative reply, The source of my informution und belief are
the conversations above sarrated, Upon information and belief 1 aver thal the recipicat is not ie the military service of H
New York State or of the United Suates as chee tern is defined in either the State o¢ in dhe Medoral statutes. |

ADDITIONAL MAILING VURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 12/18/2021 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THK SAID SUMMONS IN A FIRST CLASS POSTPAID

ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 6%

RHINELANDER AVE APT 4C, BRONX, NY 1462 AND DEPOSTTING SAID ENVELOPE IN AN OFVICIAL
DEPOSTTORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNTTED STATES POST i
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL, AND CONFIDENTIAL” AND DID NOT 1} |
INDICATE ON THK OUTSIDE THEREOF THAT 'THE COMMUNICATION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED BERT, ;

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| N. While Platine, NY 10603 iH 1H 'I |

hI 914-424-1100 | | |

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CIVIL COURT OF THE STATE OF NEW YORK COUNTY |
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AFFIDAVIT OF SERVICE | si |
no + CV-18078-2/8X
Dute Index Number Purchasect 11/18/2021
Plaimniff(s): CITIBANK, NAL | | |
Defendant(s): JOSHUAR RODRIGUEZ

NEW YORK | |
WESTCHESTER a: |

BENJAMIN LAMB, the undersigned, being duly sworn, doposes and says:
{ am over the age.off 18 jeans anci sot a party bo the action. 1 reside ta the vtabe of Now York.

On 12/18/2021 a: 4:16 PM, 1 served the within SUMMONS AND COMPLAINT with the index®CV-18078-2L/BX
endorsed thereon on JOSHUAR RODRIGUEZ m 1668 ZEREGA AVE , BRONX, NY 10462-5425 im the manner |

indicated below:

SUITABLE AGE: by delivering thereat a true copy of exch to Miriam co-resident of JOSHUAR |
RODRIGUEZ, a pernon of suitable age and discretion. Said premises is JOSHUAR RODRIGUEZ’s usual piace of

abode within the state.

On 12/21/2821, enclosed a of same in 2 first class id envelope bearing the words “Personal &

Confidential” cnny nihoned te holed and defendant's aekeoee residence, at 1660 ZEREGA AVE,

BRONX, NY J 5425 and deposited said envelope in an official depository under the exclusive care and cusiody of
the U.S. Postal Service within New York Stats, The envelope did net indicate on the catside thereof, by return address
or otherwise, that the communication was from un attorney or concerned an action against the defendant.

A description of the Recipient, of other person served on behulf of the Recipient is as follows: |

Sex Color of skin [Color ofhair [Age _| eight Weight
Female _} Tirown Auburn 45 Sft Gin - SM 3in 131-160 | |
Other Features: accent, glasses

I asked the person spoken to whether he/xhe Defendant was in the active military service of the United States or of the
State of New York in uny capacity whatever und received a negative reply, ‘The source of my information and beliv€ are
the conversations above narraicd. Upon information and belief | aver that the recipient ts not in the military service of
New York State or of the United States as tht teem ix defined im either the State on bi the bedera) statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, of 12/21/2021 DEPONENT GAVE ADDITIONAL NOTICE OF ‘THIS
ACTION BY ENCLOSING 4 COPY OF TILE SALD SUMMONS EN A FIRST CLASS POSTPAID
ENVICLOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1660
ZEREGA AVE, HRONX, N¥ 10462-5425 AND DEPOSITING SAID ENVELOPE IN AN ORKICIAL
DEPOSTTORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE, THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATDORNEY

OR CONCERNS AN ALLEGED DERT. 1 me | |

Swors to and subscribed before nic on 12/24/2021 Pau /p bet a :
* /ENJAMIN LAMB
VE Licersem: 1071492
CD 2 Lt CF J and B Process Service, bie
Melissa A. Cyran a 901 North Broadway Sie 1K |

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Nuuiry Poblic, State Of New York N, Wohote Plains, NY 1O6H1% | | | | |

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; PF: 01/05/2022
CIV. COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX
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AFADAVIT OF SERVICE
Endex 20 : C¥-13804-21/BX
Dato Inciex Nember Purchased: 12/10/2021
Plaintiffs): TD BANK USA, NA.
va.
Defendant(s): __JAHIIDUL ISLAM
NEW YORK
a.
BENJAMIN LAMB, tho , being duly sworn, and

undersignec deposes and says:
I am over the age of 18 years and nol a party to the action, I reside in the stato of New York

On 01/0/2022 at 4:25 PM. | served the within SUMMONS AND COMPLAINT with the index#CV-

endorsed thereon on JAHIDUL, ISLAM at 2235 GLEASON AVE APT 4B , BRONX, NY 10462-5120 in the

manner indicated below:
SUITABLE AGE: by deli
of suitable age and

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premises is

On 01/05/2022, deponcnt cncloscd a

Confidential” rly addrossed to defeas
custody of the U.S. Postal Service within Now York State. The envelope did oot i

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amt and defendant's last known residence, at

UL ISLAM's usual place of ebode within the state.

the words “Personal &
GLEASON AVE APT
4B , BRONX, NY 18462-5120 and deposited snid envelope in un official depository under the exclusive care and

icate on the outside thereof, by

return address of otherwise, that the communication wes from an aliorney or concerned an action agains! (he defendant.
A description of the Recipient, of other person served on behalf of the Recipéent is as follows:

Sex Colar of skin Color of hair Age Height Welghe
Female Brown Wrap 24 Sit din - 5% Gin 131-160

Cather Foawres: Accent (Arab)

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poken lo whether be/she Defendant was in the active military service of the United States ar af the

State of New York in uny capacity whatever and received a negative reply. The source of ny information and belief are

the conversations above narmied, Upen infortnation and belief [a
New York State or of the United States as that tenm is defined in

TIN COMPLIANCE WITH CPLA 3215, on 01/05/2022 DEPON
ACTION BY ENCLOSING A COPY OF THE SAID SUMMC
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RES

ADDITIONAL MAILING PURSUANT T0 3215

GLEASON AVE APT 4H, BRONX, NY 10462-5120 AND DEPOSITING SAID ENV

DEPOSITORY UNDER THE E
OFFICE, THE ENVELOPE BC

Sworn to and subscribed before me on 0)/O52022

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Notary Public, State Of New Yurk

No. OLE YG228619

Qealified in WESTCHESTER
Commission lxpires 9/27/22

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either the State or in the Federal statutes.

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IDENCE AT 2235
ELOPE IN AN OFFICIAL
ACLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST

IRE THE LEGEND "PERSONAL AND CONFIDENTIAL"

INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNK "ATION WAS
OR CONCERNS AN ALLEGED DEBT,

AND DID NOT

ae AN ATTORNEY
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RUNJAMIN LAMB
License; 1071-492

J dnd & Provess Service, Tne
YOE North Hroadway Ste 18
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Oa 2K 1069

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Branch: White Plains

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CIVIL COURT OF THE STATE OF NEW YORK COUNTY | III
OF BRONX

AFFIDAVIT OF GERVICE wai faoe
Index no : CV-1B776-21/8X
Date Index Momber Purchased: 12/10/2021
|
Piaintiff(s): Midiand Credit Management, Ine
va
Defendant(s): NICHOLAS PEARSON
NEW YORK

WESTCHESTER s8.:

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says:
I am over the age of 18 years and not a party to the action, I reside in the state of New York.

On 01400/2022 wt 5-23 PM, I served the within SUMMONS AND COMPLAINT with the index#CV-18776-21/8X
endorsed thareen on NICHOLAS FRARSON ot R96 WHETE PLAING KD APT 3, BROWS, 10462 in the
manner 3

SUITABLE AGE: by deli thereat a uc copy of each to Sandra Winters, co-residest of NICHOLAS
ee et age and discretion. Said preesises ix NICHOLAS PEARSON’s usval place of abode
i state.

On 01/05/2022, deponent enclosed « copy of same in a first class postpaid envelope ing the woeds “Personal &
Confidential" ty adidasancel bo GeenSien SR vr esrS eet eee ec WHITE PLAINS RD
APT 3F , B 10462 and ited said envelope in an official d ame the exclusive care and
custody of the U.S, Postal Service wi Dew York State The envelope did not indicate on the outside thereof, by
return address or otherwise, that the communication was from an attormey or concerned an action against the defendant.

A description of the Recipient, or other person served on belnlf of the Recipkent is as follows:

Sex Color of skim Color of hair Age Height Woight
Female Black Black 3 Sit Via - Sit Sin 131-160
Other Peatures: glasses

t asked the person en to whether he/she Defendant was in the netive military service of the United States of of the
State of New York im any capacity whitewer and received 4 arn reply. The source of my information and belief are
the conversations above narrated. Upon information and belief I aver that the recipient is not in the military service of
New York State of of the United States as (uit term is defined in either the Savte or in the Fedral statutes,

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3245, an 01/05/2022 DEPONENT GAVE ADDITIONAL, NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF TIE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OP RESIDENCE A't 1585 WHIT
PLAINS RD APT 3F, BRONX, NY 10462 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THK UNITED STATES POST
OFFICE. THK EXVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS PROM AN ATTORNEY
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OR CONCERNS AN ALLEGED DEHT. LY ae
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" OF BRONX |

AFFIDA SERVICE wei 7508
in | Index no t CV-18779-2UBX
Date index Number Purchased: 12/14/2021
Phaintiffia): Midland Credit Management, Inc
ws.
TOYA Ht

NEW YORK nt
BENJAMIN LAMB, the undersigned, bei sworn, deposes and saya: the
Neer ee se ic yee ak Uel creer totke Vleet ada ta tiv oon ol Mont Wik | | i

1/03/2022 at 6:00 PM, | served the within SUMMONS AND COMPLAINT with the fadex®CV-18779-21/BX |
oo oeged theraoe on LATOYA COLLINS at 2165 BOLTON ST APT 18, BRONX, NY 16462 in the manger | |
iedicated below:

SUITABLE AGE: by delivering thereat « true copy of ench te Antwon S., co-rosident of LATOYA COLLINS, a |
person of suitable age and discretion, Said premises in LATOYA COLLINS's usual place of abode within the state. |

On 01/05/2022, deponcn! onclosed « of same in a first class postpaid envelope bearing the words “Personal &
Confidential” Y addressed to defendant and defenduns last kaw residence, at 2165 BOLTON STAPTIE, | |

BRONX, NY 1 cud suid envelope im an official tory under the caclusive care and custody of the Hee STD ey
U.S, Postal Service withia "York State. The envelope did not indicate on the outside theevof, by return address or Hy
otherwise, that the comamunication was from am attomey ar concerned an action against the defendant.

|
A description of the Recipient, or other person served on behalf of the Recipient is an follows: Naina

Sex _|Cokeofskin _|Colorofhair _|Age _ [Height Weight | |
Male | Black Black 38 [Se 30im- oro | 161.200 (i)
Other Features: mustache, beard

L asked the person spoken t whether he/she Defendant was in the active eailiary service of the United States of of the Hy) Py
State of New York in any capacity whatever anc! received « negative reply. The source of my informacion and belief are | :
the con vorsations abowe narrated. Upon infarmation and belief | aver that the rovipient is not in the military scrvice of (|
New York State or of the United States as that term is defined im cilher tho State or im the Federal statutes. |

ADDITIONAL MAILING PURSUANT TX) 3215

IN COMPLIANCE WITH CPLR 3215, on 01/05/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID {|
ENVELOPE ADDRESSED TO DEFENDANT AT DEPENDANT'S PLACK OF RESIDENCE AT 2165 HI
BOLTON ST APT IE, BRONX, NY 10462 AND DEPOSITING SAID ENVELOFE IN AN OPFICIAL,
DREPOSTDORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST Hh)
OFFICK. THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT

INDICATE ON THE OUTSIDE. THEREOF THAT THE COMMUNICATION WAS FROM AN ATPORNEY |
OR CONCERNS AN ALLEGED DEBT. Lae Hh
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1a ay License 107 |.492 WET | ||

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No. O1CY622K6 19 Len PII MABE NC. Lex Hint"

Qualified in WESTCHESTER DT DRA Lhcensett: 2027471 | i

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Ss Tl CLAIM NO, Civil-Rronxd
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
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AFFIDAVIT OF SERVICE
Index 20 : CV-18784-21/8X
Date Index Nomsber Purchased: 12/18/2021
Phaintifi(s): CITEBANK, N.A. |
v6.
| Defeoduat(s): JERMAINE BETANCOURT | il

NEW YORK Hib {
WESTCHESTER a: Hy

BENJAMIN LAMB, tho undersigned, being duly sworn, deposes and says:
Sam over eupage of Th sou end ear Siciere ts Rie cesen. Leeoaae mmc emesis Taek 14

Oc 01/05/2022 at 3:41 PM. ] served the within SUMMONS AND COMPLAINT with the index®CV-18784-21/8X
emiorsed thereon on JERMAINE HETANCOURT « 3302 BOLLER AVE , BRONX, N¥ 10475 in the manner
indicated below:

SUITABLE AGE: by delivering thereat « (ruc of cach to Jane Doe (refused mame), co-resident of JERMAINE
BETANCOURT, . person of suitable age and discretion. Seid promises is JER BETANCOURT's usual
place af abode within tho state.

|
On 01/13/2022, deponcnt enclosed a copy of same in a first class postpaid envelope bearing the words “Personal &
Confidential” popey addressed to defendant and defendant's last known residence, at BOLLER AVE,
BRONX, NY 16475 and Hed said envelope in an official tory under the exclusive care and custody of the l)
U.S, Postal Service within New York State. 'The eavelope did not indicate on the outside thercof, by rewum nideoon oF i
otherwise, that the communication was from an attorney or concerned am action against the defendant. |

A description of the Recipient, or other person served on belalf uf the Recipient is as follows:

Sea Color of shin Color of hair Age Height Weight
female | Block Black 32 Sfi 4in - 5ft Gin 131-160
Other Features:

T asked the person spoken to whether he/she Defendant was in the active military service of the United States or af the tht
State of New York In any capacity whatever and received 1 negative toply. Mhe source of my information and belief are
the conversations above narrated, Upon information and belict f aver that the recipient is met i the military service of
New York State or of the United States as ¢hat term is defined in either the Statc of in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215 am

IN COM? LIANCE WITH CPLR 3215, on 01/11/2022 DEPONENT GAVE ADDITIONAL NOTICK OF THIS
ACTION BY ENCLAISING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPATD

ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 35302
BOLLER AVE, BRONX, NY 10475 AND DEPOSTTING SAID ENVELOPE IN AN OFFICIAL, DEPOSITORY i
UNDER THE EXCLUSIVE CARE AND CUSTODY OF 'THIE UNITED STATES POST OFFICE. THE
ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL" AND DID NO'T INDICATE ON
THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS

AN ALLEGED DEBT, Pil |
Sworn to and subscribed bcfore me on 01/1/2022 x Ry on eet i if | |

BENJAMIN LAMB |
° Mi Lice: 107249) |
“; t Je z+ J amd Le Mrawess Service. Inc |

Aclissa A, Cyran YUL) Noth Hresdway Seo 08 | | |

Notary Public, Saute Of New York N. Whee [Hains NY LORE Wit
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY WIA
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ons Index 20 : C¥-58798-21/8X
Date fndex Nuntber Purchased: 12/10/2021
Plaintiff{s): CITIBANK, N.A.
wa.
Defeadaan(s): _ZULMA 1 BETANCOURT
NEW YORK
ss:

BENJAMIN LAMB, the undersigned, boing duly sworn, doposes and says:
1 am over the age of 18 years and not a party lo the ection. | reside In the mate of New York.

01/05/2022 at 3:41 I scrved the within SUMMONS AND COMPLAINT with the index#CV-18798-21/BX
On 2 et TOLMA TBETANCOURT at 3802 BOLLER AVE, BRONX, NY 10475 in the manner
indicated below:

SUTTABLE AGE: by delivering thereat a true of each to Jane Doe (refused name), co-resident of ZULMA I
BETANCOURT, st person of suitable age and dlesretion, Said premises is ZULMA | BETANCOURT’s usual place
of abode within the state.

On 01/13/2022, deponent enclosed a copy of same in a first class postpaid envelope bearing the words "Peronal &
Confidential” pro addressed to defendant and defendant's last known residence, at 3302 BOLLER AVE ,

BRONX, NY 1 75 end Sopentiod sald sovsiage We 08 pOictel Seren oe or oe et ox tenes eater
U.S. Postal Service within New York State. ‘The envelope did not indicate on the outside thereof, by return s Of
otherwise, that the communication was from an ultomey or concemed an action against the defendant.

A description of the Recipient, or other person served on behalf of the Revipicnt és ns follows:

Sex Color of skin Color oltair — |Age | Heighe Weight
Female Black Black 32 Sit 4in - Sit bin 131-160
Other Feutures:

| asked the person spoken to whether he/she Defendant wax in (he ective miltary service of the United States or of the
State of New York in any capacity whatever al received a negative reply, The source of my information and belicf arc
the conversations above narrated. Upoe information aad belict 1 ewer that the recipient ix not in the military service of

New York State of of the United States ax that term is defined in either the State of in the Pederal scatutus.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 01/19/2022 DEPOQNENT GAVE ADDITIONAL NOTICE OF THES
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACK OF RESIDENCE AT 3302
BOLLER AVE, BRONX, NY 10475 AND EXEPOSITING SAID ENVELOPE IN AN OFFICIAL DEPOSITORY
UNDER THE EXCLUSTVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE, THE
ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL AND DID NOT INDICATE ON

THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS
AN ALLEGED DEBT,

Sworn to and subscribed before ue oo ()L/) 2022 X. te Li

y “ BENJAMIN LAMB Pea alas
Whe ( Licensed: 171499 i
if Ojg / AME: i) J and FE Poowess Service, tne! Hit

Melissa A. Ciyran 901 North broadway Ste [Re | poet} }
Notary Public, Suc OF New York ON. White Plata, NY O60
No. DICYO225019 Lin Fo) 914498-1009 lint Hi}
Qualified in WESTCHESTER Hibsiais DCA Ligedse@, 2027471 \
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Case Wo, CV¥-18790-21/3x
CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX

AFHIDAVIT OF SERVICE

fndex no ; CV-19790-2L/BX
Date Index Number Purchased: 12/16/2021

BENJAMIN LAMB, the undersigned, being duly swom,
Lam over the age of 18 years and oot @ party to the action. [ rea

On ©1/05/2022 at 3:19 PM, | served the within SUMMONS AND

endersed thereon on

indicated below:

SUITABLE AGE: by deli

within the state,

On 01/15/2022, deponent

Confidential”

and
ide in the state of New York.

COMPLAINT with the index#CV-13790-2/BX

MARYLIN VASQUEZ at 120 DONTIZETII PL APT 6F , BRONX, NY 10475 in the manner

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enclosed a copy of same in a first class postpaid
y addireseed
BRONX, NY 10475 and
US. Postal Service within New York Stats. The covelope
otherwise, that the communication was from an allomey or

to defendant and defendant's |ast known residence, at t
ited said envelope in an

oe of cach to Roberto Colon, Co-resident of MARYLIN
VASQUEZ, a person of suit age and discretion. Said premises is MARYLIN VASQUEZ 's usual place of nbode

envelope bearing the words “Personal &
DONIZETTI PL APT 6F ,
tory under the exclusive care and ¢
did not indicate on the outside thereof, by return a
concemed an action against the defendant.

A description of the Recipient, of other person served om behalf of the Recipical is us follows:

Sex Color of skin Color of batr Weiphet
Male [Brown Sait and Pepper Sft Jim ~ Sft Pim 131-160
Other Features: ucocnt, goatee
L asked the person spoken to whether he/she Defendant wun io the active military service of the United States or of che |

State of New York in any capacity whatever and received 1 egal
dhe conversations aheve narrated. Upon imformation and belief | aver that the recipient is pet in the military servie

ive reply. The source of my infornsation and belicf are

New York State or of the United States a» that tenn is defined in cither the State or im the Poderal statutes.

IN COMPLIANCE WITH CPLR 3215, on 01/13/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS

ADDITIONAL MAILING PURSUANT TO 3215

ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAT
ENVELOPE ADDRESSED '1O DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 120
DONIZE TTI PL. APT 6F, BRONX, NY 10475 AND DEPOSITING SAID ENVELOPE EN AN OFPICTAL

DEPOSTFORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNTIED STATES POST |
OFFICE. THE ENVELOPE BORK THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT

INDICATE ON THE OUTSIDE THERBOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED DEBT, by

Sworn to ant! sulsenbed before me on OL NIQ022

Notary Public, State OF New York

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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX Ne ATS
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Index no : CV-18791-21/BX
Date Index Nomber Purchased: 12/1 2021

Piaintiff(e): CAPITAL ONE BANK (USA), NA.
ve.
Defendant(s): AMELIA CRUZ

NEW YORK
38.:

BENJAMIN LAMB, the undersigned, being duly sworm, dopases and says:
Hex aier the age of 18 years and not & party to the action, I reside in the slate of New York.

On 01/05/2022 at 3:49 PD {served the within SUMMONS AND COMPLAINT with the index#C¥-18791-21/3%. ua)
endorsed thereon on CRUZ at 3555 BIVONA ST APT 2H , BRONX, NY 10475 in the manner indicated HH |

SUITABLE AGE: by delivering thereat a tre of cach to Rive Pagan, co-resident of AMELIA CRUZ, « person
of suitable age aad discretion. Said premises is AMELIA CRUZ's usual place of abode within the state.

On 01/1472022, deponent enclosed a cop of same in a first class postpaid cavelope bearing the words "Pervonal &
Confidential” rly wddressed wo defendant and defendant’ Inst koorwn suidenee, at 3554 BLVONA ST APT 2H,

BRONX, NY 1 S and deposited said envelope in an official depository under ihe exclusive care and custod of the
U.S. Postal Service within New York State. The envelope did. net indicate on the owtnide thereol, by return addrens or
otherwise, that the comavanication was from an atlommey ar comcerned un ative against the defendaat. il

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A descripion of the Recipient, or other person served on behulf of the Recipient ts ax follows: '

Sex Color of skin _|Colorofthaic | Age | Heigiha Weigh | |
Malc _|Brown lack 31 Sh Tin -SM9in | 131-160 |

Other Keatores: accent, mustache, bourd 1

I asked the person spoken to whether he/she Defendant was in the ustive mulitary service of the United States of of the
State of New York mm any capacity whutever and reorlved! a oer. reply, ‘The source Of my information and belief are | ii]
the conversations ubove narruted. Upon information and belict f aver that the recipient is not in the mullitary service of if
New York State or of the United States as that torm ta defined in either the State o¢ im the Recheral stanstes. Wil W

ADDITIONAL MAILANG PURSUANT TO 3215 i

IN COMPLIANCE WITH CPLR 3215, on 01/15/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THs | i
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID UNL LA
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3555
BIVONA ST APT 2H, HRONX, NY 10475 AND DEPOSITING SACD ENVELOPE IN AN OFFICIAL |
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTPOOY OF THE UNITED STATES BOST HE SIH
OFFICE, THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL’ AND DID NOT ATs!
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED DEBT. tL

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My | HENJAMIN LAMB
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STs Melissa A, Cyran ve ; aD ie } Aisa Prnscesss Sow toe:s Bae |

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Case No. CV-18795-21/ RA

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an Index no : CV-48795-21/3%

Phaintiff(s): CAPTTAL ONE BANE (USA), N.A,
vs.

Defence n}(s): A
NEW YORK HH |
WESTCHESTER 38: | HH | Fi
ENJAMIN LAMB, the usdersi bei sworn, soa and says: |
DENIAMIN LAMD, di usderst>ed parts loko nce. [poslde in On nie wt Now YOU: | | |

1/05/2022 at 4:22 PM, I ed the within SUMMONS AND COMPLAINT with the index#CV-18795-21/0X
Oo Le harcos on KEITH A ASTRE at 4160 HUTCH RVR PKWY APT 3A , BRONX, NY 19475 in the
manner indicated below:

SUTTABLE AGB: by delivering thereat a truc of each to Leona S., co-residemt of KEITH A ISTRE, a person of |
she eto anaaiieutn promitves is K A ISTRE's uscal place of abode within tho stmie.

On 01/1/2022, deponent enclosed a of same in o first class postpaid envelope the words “Persomal &
Confidential” y addressed to rand deferdant's last known residence, at 4160 HUTCH RVR PRWY E
APT 3A , BRONX, NY 10475 and deposited said envelope in an official depository under the exclusive care and
custody of the U.S. Postal Service within New York Stats. The envelope did not indicate on the outside thereof, by
return address or otherwise, that the communication was from an uttorney or concerned an action against the defomdant.

A description of the Recipient, or other person served om beholf of the Keeipient is as follows: | |
Sex Color of skin Color of hair Age _| Height Weight Ait]
Female __| Black Black 36 50 din - Sft Gin 161-200 He
Osher Features:

T asked the person

spoken to whether he/sie Defendant was in the active militery service of Use United States on ofthe |
State of Mew York mn uny capacity whatever and received a ne tuply. The source of my information and belief are

the corrversations above narraicd. Upon informution ant belict | aver thac the recipient is not in the military service af |
New York State or of the United Statox as thal term is defied in cithor the State or in dhe Meadlerul statutes.

li ADDITIONAL MAILING PURSUANT TO 3215 | |
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IN COMPLIANCE WITH CPLR 3215, on 01/13/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS ||
ih, ACTION BY ENCLOSING A COPY OF THLE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED 10 DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 4160 TIT

RVR PKWY E APL 354, BRONX, NY 10475 AND DEPOSITING SAID ENVELOPE IN AN OFFICUAL | |
1 DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF 1HK UNITED STATES POST
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«ON THE OUTSIDE SREOPF THAT THE OOMMUNLCA'TION WAS FROM, : c¥
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX
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AFFIDAVIT OF SERVICE
Index no : CV-18806-21/BX
Dato Index Number Purchased: 12/10/2021
Plainiff(s): SYNCHRONY BANK
v6.
Defendant(s): LARRY LARA
NEW YORK
86.

BENJAMIN LAMB, tho undersigned, being duly sworn, deposes and says:
Iam over the age of 18 years and not a party to the acthon. I reside in the state of New York.

On 01/05/2022 ai 4:26 PM. 1 served the within SUMMONS AND COMPLALNT with the index#CV-18806-21/BX

endorsed therton on LARRY LARA st 140 ERDMAN PL APT 2F , BRONK, NY 10475-5325 in the manner
indicated below:

eS ee ing thereat a truc copy of cach to Stephanie C., co-residemt of LARRY LARA, a pervon
of auitable age and discretion. Said premises is LARRY LARA's usual place of abode within the state

On 01/15/2022, deponeat caclosed a copy of same in a [lest class postpead cavclope the words "Personal d&
Confidential” y addressed to deferxiant and defendant's last known residence, at 140 ERDMAN PL APT 2F ,
BRONX, NY 1 and deposited said envelope in an official depository under the exclusive care and custody of
the U.S. Postal Service within New York State. The envelope did not indicate on the outside thereof, by reum address
or otherwise, that the communication was from an ellorncy or concerned an action against the defendant

A description of the Rocipient, or other persom served on behalf of the Recipica! in as Fallows:

Sex Color of skin Color of hair Age _ Hoght Weight
Female Brown Black x Sit Oin - 5% 3in 131-160
Other Features;

Lasked the person spoken to whether he/she Defendant was m the active mililiry service of tlhe United States or of the
State of New York in any capacity whatever und received a negative reply. The sauree of iny information and belief are
the conversations above gasrated Upon infoemation and belief f aver that the recipient ix not in the military service of
New York State of of the United Suites as that term is defimod in either the State or in the bederal stasutes,

ADDITIONAL MAILING PURSUANT T0 3285

IN COMPLIANCE WITIECPLE 3215, on 01/19/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF TEE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 140
ERDMAN PL APY 2F, BRONX, NY 10475-5325 AND DEPOSTTING SALD ENVELOPE IN AN OFFICIAL,
DEMOSIDORY UNDER ‘THE EXCLUSIVE CARE AND CUSTODY OF TIE UNTTED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL. AND CONFIDENTIAL” AND DID NOT

INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTONUNEY
OR CONCERNS AN ALLEGED DEBT.

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Melissa A. Cysan

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Notary Public, Siete CO New York |, } N. White Plains NY 160s Nii ot
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
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AFFIDAVIT OF SERVICE
sc no» CV-18797.21/8X
Date Index Nuetber Purchased: 12/16/2021
Plaintiff (s): SYNCHRONY BANK
vB.
Defendant(s): SENCION FRANCISCO

NEW YORK

WESTCHESTER 88.

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says:
Sean over thangs of 48:9uee SAEDt Riparian Geet | reside in the stele of New York,

On 0106/2022 at 12:48 PO, served the within SUMMONS AND COMPLAINT with the lndex#CV-18797-21/BX

thereon on SENCION FRANCISCO ut 2169 HONE AVE 2A , BRONX, NY¥ 10461 in the manner \N

indicated below:

SUITABLE AGE: by delivering thereat # trae copy of cach to Ariel Francisco, co-resident of SENCION
FRANCISCO, a person of suitable age and discretion. Said premises is SENCLON FRANCISCO'S usval place of

abode within the state,

On 01/13/2022, deponent enclosed a
Confidential” ly addressed to ieten
BRONX, NY 1

y of same in u first class postpaid envelope

dant and defendamt's tant kann sncidoces oth
1 and deposited saad envelope in an official
U.S. Postel Service within New York State. The cavelope did not indicaie on the ouside theroof, by retum

epository under the eaclusive care and eer of the

the words "Personal &
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otherwise, that the communication was from an aliorney oc concerned an action against Ue defendant,
A descnption of the Recipient, of other person served on bebul! of the Recipient is nx follows:

Sox Color of skin

Color of hair

Age

Leigh Wegh

Female Brown

Brown

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Other Feutures: accent

1 oxked the person

Stute of New York im any capacity whatever and reecived a ree
the conversations above narrated. Upan information and belief l aver that the recipient ix not in the military service of
New York State or of the United States as that term ix defines in cither the State of in the Federal statutes in

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on O1/142022 DEPONENT GAVE ADDITIONAL NOTICE OF THES

n to whether be/she Defendant was in the active military service of the United States or of the |
reply. The source of mny informetivn and belief ure

ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN A FIRST CLASS POSTPAID

ENVELOPY, ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 2169 HONE

AVE 2A, BRONX, NY 10461 AND DEPOSITING SAID ENVIELOVE IN AN OFFICIAL DEPOSTTORY

UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE
ENVELOPE BORK THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT INDICATE ON }
TUE OUTSIDE TMEREROF THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS

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No. CV- SCR RTT

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AFFIDAVIT OF SERVICE |
Index no : CV-19799-2UBK
Dee Iedex Nurober urease 12/10/2021
Plaintiffs): TD BANK USA,N.A.
vis,
Defandant’s}: GURJIT 8 SINGH
NEW YORK | |
WESTCHESTER a:

BENJAMIN LAMB, tho undersigned, being sworm, deposes and saya:
Jaen prar tha agoict 88:yenmn nad eat eiaalty ie Malaeaed. Remal ies aioed Nae ONL

On 01/06/2022 al 12:47 PM, | served the within SUMMONS AND COMPLAINT with the iedex®CV-18799-2L/ 8X |
endorsed thereon on GURJIT 5 SINGH at 1026 NEILL AVE APT 2, BRONX, NY 1046] in the manner indicated
below:

SUTTABLE AGE: by delivaring thereat a true of cach to A’ D., oo-resident of GURJIT 3 SINGH, a person
of sultabbe age and eden RJIT 5 SINGH s useal place of abode within the state.

eat of sacne in a first class postpaid envelape the words “Personal &
Confidential” and defepdant’s last known residence, a! 1026 NEILL AVE APT 2,
BRONK, NY 1 Sesser 4d sald cobvelone ix so CLA udiomery oeeiay deo omhiahoe date aa of the
U.S. Postal Service within Sa ¥eck Bude: Yas arstngs edech een ck ev rena eno te mene |
otherwise, that the communication was from an attomey or concemed an action against the deferiant.

A descripsion of the Recipient, ar other pernoa served on behalf of the Recipient ia an follows:

Osher Features: accens (ind.), glasses

l asked the person spoken lo whether he/she Defemdant was in the active military service of the United States or of the |
Rate of New York in any capacity whatever and rocesv Sanne reply, The source of my information and belief are
the convernatiogs above narrated. Upon information and Taver that the recipient is at to tee militury service of
New York State or of the United States as that tenm is defined in cithor the State or in the Federal statutes,

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 01/13/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1026 NEILL
AYE APT 2, BRONX, NY 10461 AND DEPOSITING SALD ENVELOPE IN AN OFFIC IAL, DEPOSITORY
UNDER THE EXCL USIVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE
ENVELOPE BORE THE LEGEND "PERSONAL AND CONKIDEN'TIAL” AND DID NOT INDICATE QN

THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCIRNS
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Sex Colorefxkin [Color of hair [Age _ [Height Weight
Female Brown Black 34 5M din - 5ft Gin 131-160 ¢ }
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CIVIL COURT OF THE STATE GF NEW YORK COUNTY
OF BRONX

AFFIDAVIT OF SERVICE
Te a a
Date lodex Number Purchased; 12/10/2021
Phaintiffis): SYNCHRONY BANK
ve.
Defendant(s): TRENE SERPE
NEW YORK
4a.

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and
dum over tho nn of 18 pend anders a punt ese coaien I reukae i tho gate ot New: Yok.

Ow 01/06/2022 ut 1:10 PM, | served the within SUMMONS AND COMPLAINT with the index#CV-18793-2LBX
endorsed thereon on IRENE SERPE at 1417 ROWLAND ST APT 3R , BRONX, NY 16461 in the manner

indicated below:

SUTTABLE AGB: Se nme of each to Jane Doe (refused name), ce-resident of IRENE
SERPE, a person of suitable age and discretion. Said premises is IRENE SERP®'s usual place of abode within the
state.

On 01/13/2022, deponcm onclosed a copy of same in # fits class postpaid cavelope the words “Personal &

Confidential” oer addressed to defendant and defendant's last known residence, at 1417 ROWLAND ST APT 3R

, BRONX, N and deposited said envelope in an official depository under the exclusive care and custody of the
US. Postal Service within New York State, The cavelope did sot indicate on the outside thereof, by return adciress or
otherwise, that the communication was from an attorney of concerned an action against the defendant.

A description of the Rocipiom, or other person served on behalf uf the Recipient is as follows:

Sex Color of skin Color of huis Age Height Weight
emule Irown Krown 32 Sft din - 5% 3in 131-160

Other Features: accent

| asked the person spoken to whether be/shc Defendant was in the active military service of the United States or of the l\\}
State of New York in any capacity Whatever and received a negative reply. The source of my information and belief are Litt
the conversations above narrated. Upon informution and belief f aver that dye recipient is not im the military service of
New York State or of dx United States as that term is defined in either the Stute or in the Hederul statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 0L/1.N2022 DEPONENT GAYE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF TILE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEPENDANT A'T DEFENDANT'S PLACE OF RESIDENCE AT M17
ROWLAND ST APT 3R, BRONX, NY 10461 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICK. THER ENVELOPE BORE THE LEGEND "PEKSONAL AND CONFIDENTIAL” AND DID NOT

INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN MTSE ii
OR CONCERNS AN ALLEGED DEBT, eat
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Index no : CV-18792-2/BX
Date Index Number Purchased: 12/10/2921

FILED: BRON

NYSCRP DOC, WO. 46931
CIViL. COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX |

APRIDAYVIT OF SERVICE

Fr Ulyisladse derse, ee

NEW YORK \
WESTCHESTER 58. i

; iii!
BENJAMIN LAMB, the undersigned, being duly swom, deposes and says: |
Suan ovec the age of $8 poams'and tot 6 pasty the aes. I veaiee beaker eausioh HUG Woke ena

On 01/06/2022 at 1:17 PM, I served the within SUMMONS AND COMPLAINT with (be index#CV-18792-21/8X |

oaeere thertom on LUIS M MOREL ni 1704 SEDDON ST APT 35 , BRONX, NY 1046] in the manner indicated
below:

SUITABLE AGH: by delivering thereat a true copy of each to Ava Rios, co-resident of LUIS M MOREL, a penon of || |
Suitable age and discretion, premises is M MOREL 's cewal place of abode withia the state, (HOLM

On 01/142022, depose: cackasod 9 of same in a first chess pos(puicl onvelope bearing the words “Personal d&
Confidersial* properly addressed bo and defendant's lust known residence, a 1704 SEDDON ST APT 35,
BRONK, NY I and deposited seid envelope in an official depository under the exclasive care and of the
U.S. Postal Service within New York State. The envelope did not indicate on the outside thereof, by return or |
otherwise, that the communication was from an attomey or concerned an action against the defendant,

A description of the Recipient, or other person served on behalf of the Recipient is as follows:

Sex Color of skin [Colac ofthaie Age | Height Weight NW
Female | Brown Brown M__|Sh0in-sm sin 131-160
Other Features: accent

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State of New York in aay capacity whatever uni receives! n negative reply. The source of my information and betiel ary
the conversutions above narrated. Upor information and belief | aver thal the recipient ls ae in the niilitery service of
Now York State or of the United States an thal term is defined im ehher the State of in dre Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215 i Nt

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IX COMPLIANCE WITH CPLR 3215, on 01/142022 DEMONENT GAVE ADDITIONAL NOTICE OF THIS |||

ACTION BY ENCLOSING A COVY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID Way

ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1704. yl
SEDDON ST APT 35, HRONX, NY 10465 AND DIPOSIEING SAID ENVELOPE IN AN OFFICIAL | Wii

DEPOSTTORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST | \)
OFFICE, THE ENVELOPE BORK THE LEGEND *PICRKSONAL AND Cl INFIDENTIAL” ANDIMDNOT | |

INDICATE ON THK OUTSIDE THEREOP THAT THE COMMUNICA FION WAS FROM AN ATTORNEY |
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX
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AFFIDAVIT OF SERVICE
Index no : CV-18807.21/8X
Date Index Number Purchased: 12/14/2021
Phaintiff{s SYNCHRONY BANK
vs.
Defendani(s): _: MARION FELLEGARA.
NEW YORK
ss.

BENJAMIN LAMB, the undersigned, being swom, deposes and says:
Tam pvor the agp of Lapua salen ppaneie ie relee Teac he reisctiaw York.

1/06/2022 ut 4:54 L served the within SUMMONS AND COMPLAINT with the index#CY-18307-21/8X
sraceeed Ghoreen on MARSON FRLLEGAMA cease Rint are ne Rit Tir nbdil in the manner
indicated below:

SUITABLE AGE: by delivering thereat a true copy of exch to John F

SON of MARION FELLEGARA, a
person of suitable age and discretion. Said premises is MARION
slate.

ARA's usual place of abode within the

On 01/10/2022, deponent enclosed a of sume in a fisst class postpaid envelope bearing the words “Personal &

Confidential” saly ackdopmield 00 dlooiant aad aameameate tnat known residence, at 1602 EDISON AVE APT 2,
BRONX, NY 10461 and deposited said envelope in an official a under the exclusive care and custody of the
US. Postal Service within New York State, The envelope did not indicnte on the outside thereof, by return -
otherwise, that the communication was from an sttomey or concerned an action against the defendant.

A description of dhe Recipient, or other person served on behalf of the Kocipient is as follows:

Sex Color of skin Color of hair Age Hel ght
Male White Brown 47

Orher Features: mustache, beard

Weight
Sft 10im - 6Tt Cin Over 200

L asked the person spoken to whether he/she Defendant was in the active military service of the United Stutes or of the
State of New York in any capacity whatever and received a negulive reply. The source of my information and belicf are
the conversations above nurrated. Upon information mad belie! [ aver that the revipicns is not in the military service of
New York State of of the United States as that term is defined in either the State or in the Redcrsd statutes.

ADDITIONAL MALLING PURSUANT '1'O 3215

IN COMPLIANCE WITH CPLR 3215, on O1/1¥2022 DIEPONENT GAVE ADDITIONAL N
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN AF
ENVELOPE ADDRESSED 1O DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1602

KL DISON AVE APT 2, BRONX, NY 10461 AND DEPOSITING SAID ENVELOPE IN AN OFPICTAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL AND ( INVIDENTIAL” AND DID NOT
INDICATE ON TEE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
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CIVIL COURT OF THE STATE OF | - 01/14/2022 .
oreran mccoy TUNA
“ei1782"

AFFIDAVIT OF SERVICE
eh
Platatiff(s): TD BANK USA, NA.
Defendant(s): ™ MARGARET RUIZ |

NEW YORK
WESTCHESTER ue

BENJAMIN LAMB, the undersigned, being duly swom, deposes and says:
Tana over Gon age Of 18 years end wat a party to te action. Trealde tn the paste of Mow Vouk.

On 01/06/2022 x 5:23 PM, | served the within SUMMONS AND COMPLAINT with the index#CV-18905-21/8X |
endorsed thereon oo MARGARET RULZ at 2826 HARRINGTON AVE APT 3, BRONX, NY 10461-5942 in he }
manner indicated below: Hy |

SUITABLE AGE: by delivering thereat a tras of each to Jane Doe (refused name), co-resident of
ee a person of suitable age and discretion. Said premises |s MARGARET RUIZ's usual place of

Ox 01/10/2022, deponent eactosed a copy of same in a first class postpaid envelope bearing the words “Personal & "i
Confidential prey addressed to defendant and defondast's last known residence, at 2826 HARRINGTON AVE
APT 3, BRONX, 10461-5942 and deposited said envelope in an official depository under the exclusive care and
custody of the U.S, Postal Service within New York State. ‘The envelope did not indicate on the outside thereof, by
retum address or otherwise, dat the communicution was fom un attormey or concerned an ection against the defendant,

A description of the Recipient, of other peryon served on behalf of the Recipient ix 1s follows:

Sex Color of skin Color of hair Age Height Weigh
Female brown Brown “3 5M 4in - Sft éin 131-160

Other Features: glasses

I asked the person spokes: to whether hevahe Defendant was in the active military service of the United States or of the
Stale of New York in any capecity whatever und received a negative reply. The sourve of my information and belief arc
the conversations above nanrated. Upon information and belief | aver that the recipient in mot in the military service of
New York State ar of the United Statice as (hat (arm is defined in either the State of in the Reder:! statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPL 3215, on 01/10/2022 DEPONENT GAVE ADDITIONAL, NOTICE OF THES

ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS PC STPALD

ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 2826

HARRINGTON AVE APT &, BRONX, NY 10461-5942 AND DEPOSTTING SAID ENVELOPE IN AN

OFFICIAL DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES

POST OFFICE. THE ENVELOPE BORE, THE LEGEND “PERSONAL AND CONFIDENT IAL” AND DID

NOT INDICATE ON THE OUTSIDE THEREON THAT THE COMMUNICATION WAS FRE yM AN ty

ATTORNEY OR CONCERNS AN ALLEGED DEHT, i an eat Peet
(pA. |

o 4 sare - ste enter : Te Oe eet ’

BRNIAMIN LAMB

Liconuet 1071492

pt i Bilal ;
1 1 Oh aap Mees, ; J aind B Prexices Service, Ine

i! ’ Me liasa A. Cyran Sit North Hroadway Sw Ih ‘ : : |

Sworn to aad subscribed before me on (I/EIW2022

fil; Notary Pothke, Suc Of New York hel | ON White Plains NY 10603
i eNe. OFC YE228019 Lh B14-378- 10D Had if 4
WU QabadiGed in WESTCHESTER | |i/ | Wi DCA Licensof: 202747 | yA)

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BRONE. COUNTY, SL¥el COURL ABDI

Case No. C¥-i9800-21/8x

Day, OL{LAgenee 05127,.2M

CIVIL COURT OF THE STATE OF NEW YORK COUNTY
“wes NT
AFRDAVIT OF SERVICE 817040
ladex no : CV-18806-21/BX
Date Index Number Purchased: 12/10/2821
Plairniff(s): CAPITAL ONE BANE (USA), N.A.
v3.
Defendant(s): TOMA YUEDEDAJ
NEW YORE
£8:

BENJAMIN LAMB, the undersigned, deing daly swom, deposes and sa
aaa iire tne of 18 years and not n party to the action. I renido tn che sate of Now York.

On 01/06/2022 at 5:47 PM. served the within SUMMONS AND COMPLAINT with the index®CV-18808-2
On 01/06/2022 0 7 PM, | ered att Oe DRONE, NY 1046 in too manner indicated

SUITABLE AGB: by delivering thereat a true of cach to Garson co-resident of TOMA
VUKDEDAJ, x pence of sutble ngs and neuen, Sid pens & TOMA JKDEDAJ's usual place of obode

On 01/18/2022, deponcet enclosed a copy of same in a first class postpaid cevelope ing the words "Personal & Aa
Confideatial y addressed to defendant and defendant's last known residence, al 26 SCHURZ AVE, 7
BRONX, NY 16 sacl deposed nl ecvsiope i on nTRiall eee So el by teem al of the

U.S. Postal Service withia New York Suutc, The envelope did not indicate on the outside thereof, by roturm or
otherwise, that the communication was from an witorney or concerned an action against the defendumt.

A description of the Recipient, or othor person served on behalf of the Recipient in as follows:

Sex Color of skin Color of hair A Height Weight
Male White Brown 50 6f lin - 6ft Sin Over 200
Over Features: accent

L asked the person spoken to whether he/she Defendant was in the active military service of the United Sues or of the
State of New York in any capacity whatever and received a negative reply. The source of my inforauition and belief are
the conversitions above aurratcd. Upon informutvon and belicl Laver that the recipient is not im the military scrvice af
New York State or of dhe United States as thal term 15 defined in either the State ov in the Federal statutes

ADDITIONAL, MALLING PURSUANT TO 3255

IN COMPLIANCE WIT! CPLR 3215, ou OL 12022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING 4 COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 2079
SCHURZ AVE, WRONX, NY 10465 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL DEPOSITORY
UNDER TILE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE
ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL" AND DID NOT INDICATE ON
THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS PROM AN ATTORN EY OR CONCERNS

AN ALLEGED DEBT, a
(Sle? 3 an dh
BENJAMIN LAMB “

vt Licennutt, 1071492
UF ee wa J anil E Process Service, Ine
Melissa A Cyrant 90) North Broadway Ste 18

Swort to uad subseribed betore me ori Ns Taos2

Notary Public, eee Of New York | N. White Plams, NY 10603
No HAC YE ZBOTY Dib DPS OOP
Qualified m WESTCHESTER PCA Licenset® 200747 2
Coamissiun Rapires D2HIAZ ih) Brunch: Whit: Plums. |: lil |
| Desi ") Atty Filet: NAGRUKMNSOAIO | | | | Hi
LEST TUA Raat iT its H Laie taal PW A Heeb WE
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I} Hi I Ae aH OHTA eA bat iy i}
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; BRONX COUNTY CIVit COURT (RDDS) Oey ufdues Oss) 4 Pe
PILED: Bae aces CX -OAOERLE. Bocuitents20 Filed O5/30/24 Page 23 of 45
Case No, -

CIVIL COURT OF THE STATE OF MEW YORK COUNTY I
COURT OF TH STATON OU AN A

AFFIDAVIT OF BERVICE #61490"

Index no : CV-18769-21/BX
Date Index Number Purchased: 12/10/2021

NEW YORK

BENJAMIN LAMB, the undersigeesi, being dely swom, deposes and says:
I am over the age cf 13 years and not a party to the action. I reside ie the state of New York.

On 01/06/2022 a! 6:19 PM, I served the within SUMMONS AND COMPLAINT with the Index#CV-18769-21/BX
endorsed thereaa on NEMILA EIPOL at 931 SWINTON AVE , BRONX, NY 1046$ in the manner indicated

below: "il

SUITABLE AGE: by delivering thereat a tree copy of each: to Jonathan P.. co-resident of NEMILA HIPOL, a | Wt

person of suitable age and discretion. Said premises is NEMILA HIPOL"s asual place of abode within the state, i Wen
« yy

On 01/10/2022, deponcnt caclosed a copy of samo in a first class postpaid envelope bearing the words “Personal & Way

Confidential” properly ackiremsed 00 defeodont ud deloniente tak Keora edieces a SOLSWINTON AVE, MN Mt

5 ri Wh)
BRONX, NY 10465 and de said envelope in an official depository under the exclusive care and custady of the i Wt)
U.S. Postal Service within York State. The covclope did not modicate on the owtside thereof, by rewrnaddressor |

otherwise, that the communication was from an attorney or concemed an action against the defendant. i Vy
! | 1
A description of the Recipient, or other persom served on behalf of the Recipiem is as follows: Wh
NM}
Sex Color of skin [Color ofhair [Age —_| Height Weight Wn)
Male | White lirown 40 Sft Win - 6h Gin 161.200 \
Other Features: accent i b
|
I asked the person

to whether he/she Defendunt was in the active military service of the United States or of the ty
Stute of New York in any capocity whatever and received a negative eeply. The source of my information and belief are yi) é
the conversations sbove narrated. Upon information and belief I ever that the recipicnt is mot in the mulitary service of
New York State of of the United States as that term is defined in either the State or in the Rederal statutes,

vil \\
ADDITIONAL MAILING PURSUANT TO 3215 MW Wt}
Wit
\) \\ Wilh

IN COMPLIANCE WITH CPLR 3215, on (11/10/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS | Mi \\\
ACTION BY ENCLOSING A COPY OF THK SAID SUMMONS IN A FIRST CLASS POSTPAID Pil)
ENVELOPE ADDRESSED TO DEPENDANT Al DEFENDANT'S PLACE OF RESIDENCE AT 931 MWC
SWINTON AVE, BRONX, N¥ 10465 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL NWN
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST. Wy
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT WIN
INDICATE ON THE OUTSIDE THEREOF

Mi '
THAT ‘ULE COMMUNICATION WAS FRO ye
OR CONCERNS AN ALLEGED DEBT, AS FROM AN ATEGRNEY i

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Molissa A” Cyrun y GOL Neath Hrowdway Ste 8 |)! NN NNW
Notary Public, Stace Of New You i il No Wikie Peon, NY 1O6UK 0 !))\\)) Wh N) AW MK,
: ©. ORC VGR2RG 19 Sth i | P14 SS. Tee ih| tt} i \) \\ My Wy My Mi
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BRONX
AFFIDAVIT OF SERVICE OBL BRe
Index no: CV-18900-21 BX
Date Index Number Purchased: 12/10/2021
Ptaintiffis): TD BANK USA, NA.
vs.
Deferntartis): EVELYN ROLDAN
NEW YORK
WESTCHESTER ss:
BENJAMIN LAMB, the undersigned, being

duly sworn, deposes aad says
I an over the age of 18 yrars and not a party to the action, I reside in the state of New York.

On 91/15/2822 at 10:45 AM, | served the withie SUMMONS AND COMPLAINT with the Index#CV-18800-2 /BX

endorsed Gerean ca EVEL YIN GOLDAN «40 THROGGS NECK HEET , BRONX, HY ESS Ee en
ow:

INDIVIDUAL: by delivering thereat a true a nets oe er eee Cet knew the person so served to

be the person described herein by deponent g the pemon Mf he or she is the named Recipient and the person responding

that he or she is in fact the person named in this action as the Recipient

A description of the recipient served is as follows

Sex Color of skin Calor of hair Heigh! Weight
Female Brown Blonde 50 Sft Gin ~ ST Jin 131-160
Other Features: accent, glasses

Lasked the person spoken to whether he/she Defendant was io Ue uctive military service of the United! States or of the State
of New York in any capacity whalever and received a negative reply, The source of my information and belief are the
conversations above narrated. Upon information and boliof I aver that the recipient is net in the military service of New York
Stale or of the United States as that term Js defined io either the State or in the Federal statutes

Sworn to and subscribed before me on 01/18/2022 Xx guna

BENJAMIN LAMB “Dee ned aie ie

; Licensed; 1071492
. J ond F Process Service, Inc
CC z 901 North Broadway Ste [8
issa A, Cyan N, White Pliins, NY 10605

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Notary Pablic, State Ol New York ; 914-928-1069

No. OLCY6228619 bi DCA License: 2027471
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY — ||
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AFFIDAVIT OF SERVICE
Fae Index no: C¥-19287-20/3X
| Dattindex Number Purchased: 12/77/2021
Platettff(a): CITIBANK, N.A. |
ws |
Defoodem(s): DELILAH MARTINEZ
NEW YORK

WESTCHESTER 98. |

BENJAMIN LAMB, the undersigned, sworn, deposes and says:
REE ee ee een ote pay to too wae. Lrosicoin te aut at Now You

On 01/25/3022 at 12°09 PM, | served the within SUMMONS AND COMPLAINT with the index#CV-19257-23/0X,
endorsed thereon on DELILAH MARTINEZ at 100 RRSKINE PL APT 9F , BRONX, NY 10475 in the manner

SUTTABLE AGE: by deli thorvat ao truc of cach to Jane Doe (refused name), co-resident of DELILAH
, se nd eee

MARTINEZ, a person of Said premises is DELILAH MARTINEZ's usual place of abode
within the state.

On 01/27/2022, depooem enclosed a od same in a first class raid envelope the words “Personal &
Confidential” rresidveomed oa defendant and defendant’ ine korwn roulaonce, i ERSKINE PL APT 9F ,

BRONX, NY 1 nad degli aes Santon ete eo ee teas wader the exclusive cure and custody of the
U.S. Postal Service withia York State. The envelope did not indicate on the outside thereof, by return or
otberwise, that the communication was from an aftorney of concerned an ection against the defendant.

A description of the Recipient, or other person served on behalf of the Recipicit is ax follows:

Sex Color of skia Color of hair Age _ |iicight Weight
Female Brown Brown 25 Sf Oin - Sf 3in 131-10
Other Features:

T asked the person spoken to whether he/she Defendant was in the active miliary service of the United States or of the
Stic of New York in any capacity whatever and received a pegative reply. The source of my information and belicf we
the conversations above narrated. Upon information and belief { aver that the recipient ix not im the military service of
New York State or of the United States ns that term is defined im either the State o¢ in the Hederal statutes,

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLE 3215, en 01/27/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
| ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN A FIRST CLASS POSTPAID

ENVELOPK ADDRESSED 110 DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 100

ERSKINE PL APT 9F, BRONX, NY 19475 AND DEPOSITING SAID ENVELOPE IN AN OF FICIAL

DEPOSTLORY UNDER THE EXCLUSIVE CARB AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE EXVELOIE KORE THE LEGEND "PERSONAL, AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
OR CONCERNS AN ALLEGED DEBT, j

Swan to wid subscribed before me on 0/27/4022 | Ae A hy obpe
i BINZAMIN LAMB. |
, Mie | Liveaswem 10171492 | |
tad LAK TR me Hard K Process Service, Inc yt |
Melissa A_ Cyrat OO} Nonh Broadway Sue 8 el
Notary Fublec, Sure OF New York J) | ON. White Viotios, NY 106003
No. OFCYG228619 iii Hit 914-328-1069
| | Qualified in WESTCHESTER | | Vid DCA Licenses) 22744 i HR an et |
‘onreaission Lixpires 2722 HH} | Urnunich: Withee Plains Ht
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Plaintiffés): SYNCHRONY BANK INT HAGA Hill
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WESTCHESTER =: | | I Hy
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BENJAMIN LAMB, the undersigned, being duly sworn, deposcs anc says:
Neate srr te sora tari vat & panty ma the tobe, Trondoin the saned Now Yer:

bel
On 01/25/2022 at 12:26 PM, | served the within SUMMONS AND COMPLAINT with the index# CY-19272-21/EX.

endorsed thereon on KERMAN MAXWELL at 100 DONEZETTE PL APT 25G , BRONX, NY 10475 inthe runner ‘|
indicated below:
INDIVIDUAL; by delivering thereat « true of cach to said recipient personally; MW knew the person so served tn

te ds punen Habeiiad boas eyrosvoaeel dhe poroea if te oc oe bs thevoaenadl pie aed the persan reepunding lj
that he or uhe is in fact the person named in this action a the Recipient. |
Comments: No description avallable. Defendant spoke to ree through the door. Ho ideutified himself but weuld not

open the door for covid reasons and safety,
A description of the reciptem served is as follows:

Sex Color of skin ‘Color of hair Age Height Weight
Make N/A NIA N/A NiA NA
Other Peaturce: | |

| asked the persan spoken to whether he/she Defendant was in the active nublitury service of ibe Untied States or of the Sqae |

of New York in any capacity whatever and received a acgative reply, The source of my informatinn and belief use he
conversation: abowe narcaied. Upon ieformation and belief T aver Out the recipieat is not in the military service of New York |
Saute of of the United States ax that iecm is <lefined in eitlcr Ure State on in the Fexlenal siatutes, |

ADDITIONAL MALLIMG PURSUANT TO 3215

IN COMPLIANCE WITH CVLR 3245, on 01/27/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THES
ACTION BY ENCLOSING A COPY OF TILE SATD SUMMONS IN A FIRST CLASS POSTPAID ENVELOPE
ADDRESSED TO DEFENDANT AT DEVENDANT'S PLACE OF RESIDENCE AT 100 DONIZETTEPT. AT 283,
BRONX, NY 10475 AND DEPOSITING SAT ENVELOPE IN AN OFFICIAL DEPOSTDORY UNDER THE eV
FACLUSIVE CARE AND CUSTODY OF TIE UNTCED STATES POST OFFICE, THK ENVELOPE BORK TIE

LEGEND "PERSONAL. AND CONFIDENTIAL” AND DID NOT INDICATE ON THE OUTSIDE THERE TTEA'T
TILE COMMUNEBCATION WAS FROM AN ATDORNEY OR CONCERNS AN ier DEBT.
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Melissa A. Cyraum eae | N | Waite Pla KY ihe M HI | Mel
Notary Public, State OF New Yark | OP1-28. Loe | reli ;
No. GLC YG 228019 eal | DKA Livcowem: 202747 he] |

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AFAIDAVIT OF SERVICE Index. no : C¥-19271-21/BX
Date Index Number Purchased: 12/27/2021
Plaimifi(s): SYNCHRONY BANE
vB.
Defendant(s): RAMONE LINTON
NEW YORK

WESTCHESTER BS.

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says: .
uo ere tet 18 years and nota party to the action. I reside in the state of New York.

On 01/27/2022 at 11:25 AM, I served the within SUMMONS AND COMPLAINT with the index#CV-19271-21/BX
iene thereon on RAMONE LINTON at 3408 BRUNER AVE PH , BRONX, NY 10469 in the manner indicated
below:

SUITABLE AGE: by delivering thereat a true copy of each to Aziz Haug, co-resident of RAMONE LINTON, a
person of suitable age and discretion. Said premises is RAMONE LINTON's usual place of abode within the state.

On 01/31/2022, deponem enclosed a copy of same in a first class postpaid envelope bearing the words “Personal &
Confidential” rly addressed to defendant and defendant's last known residence, at 3408 BRUNER AVE PH ,
BRONK, NY 1 and deposited said envelope in an official depository under the exclusive care and custody of the
U.S. Postal Service within New York State, The envelope did not indicate on the outside thereof, by return address or
otherwise, that the communication was from an altomey or concemed an action against the defendant.

A description of the Recipient, o¢ other person served on behalf of the Recipient is as follows:

Sex Color of skin Color of hair Age Height Weight
Male Black Salt and Pepper §2 Sit 10in - 6f1 Gin 161-200
Other Features: accent (Caribbean)

Lusked the person spoken to whether he/she Defendant was in the uctive military service of the United States or of the
State of New York in any capacity whatever and reecived a negative reply. The source of my information and belief are
the conversations above narrated, Upon information and belief Laver that the recipient is notin the nilitary servive of
New York State or of the United States as that term is defined in cither the State or in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 01/31/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID" vee
ENVELOPE ADDRESSED ‘TO DEFENDANT AT DEVENDANT'S PLACE OF RESIDENCE AT 3408
aac AVE PH, BRONX, NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAT,
JEPOSTTORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNTTED STATES POST
OFFICE. THE ENVELOPE BORE 'THE LE¢ CGE oe

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INDICATE ON THE OUTSIDE THEREOF THAT THE CO SHRGB O

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OR CONCERNS AN ALLEGED DEBT, 7 NAS HROM AN ATRORNEAN AS
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Za BLNJAMIN LAMB Aaa

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Melissa A Cyran _—o- =< J and E Process Service, Tne

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Sty Public, State Of New York N. White Plains, NY 10603 AAA Aa
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ad OPM 45
Case No. C¥-19265-21/BxX
CIVIL COURT OF THE BTATE OF NEW YORK COUNTY |
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OFSERVKE wee
ca | Maia Index no : C¥-19265-2BX

"| Date Index Number Purchased: 12/27/2021

Plainciff(s): DEPARTMENT STORES NATIONAL BANE
vB.
Defendant(s): CECELIA OXABLE
NBW YORK
os: H
y Hv
BENJAMIN LAMB, the undersigned, being duly sworn, deposes and suys: \ iy
lam over the age of 18 years and act » party vo the action, | reside im the state of Now York. Wie iy
| 1?
| MY
On 01/25/2022 at 12:46 PM, I served the within SUMMONS AND COMPLAINT with the index#CV-19265-21/8X sy) }
endorsed thereon on CECELIA OXABLE at 990 CO-OP CITY BLYD 18E , BRONX, NY 10475-0000 ia the uy ('
manner indicated below: iN i
SUTTABLE AGE: by dolivering thereat « wue copy of cach to Amthony D., co-resident of CECELIA OXABLE, a Ny tl
person of suitable ago and discretion. Said premises is CHCELIA OXABLE's usual place of abode within the atnte. Ny)
On 01/27/2022, deponent onckwed a copy of same in a first class postpaid envelope beuring the words “Personal & Ny ie aM
CORON We rend Addressed 49 defendant ancl defendants test known residence, a1 900 CO-OP CITY BLVD 18K Wi) Aa
, BRONX, 0000 and deposited said cavelope in an official depository under the exclusive care and custody iy
of the U.S. Postal Service within Now York Sue. The covelope did not indicaic on the outside thereof, by return i) Ni
adéress or otherwise, thut the commuricution wus from an altorncy or concerned en action against the defendant. ‘nil
\y Wty)
A description of the Recipient, or other person served on behalf of the Recipient ix as follows MM AN
\\ ui
Sex Color of skia Calor of hair Age | Height Weighs ‘it i
iw
Male _| Black Block 3 S€L10in - 6% On 161-200 “W
Other Featurcs: glasses hi
| \\! Ty
lasked Ux person spoken to whether bc/ahe Defendant Was m the active aulitary service of the United States or of the Ni} WN
Sune of New Youk m any capacity whatever and teceived a acgative reply. The source of my information aad belief are | NN) WY
the conversations shove nurrated Upon indorroution and belief | aver thar the reckplent is mot in the military service of hy CUNY
New York State of of the United States as that term is dofloed m cither the State or in the Federal statutes. uN WY
"i : 1 ) i \\ )
ADDITIONAL MALLING PURSUANT T0 3215 i i
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1 COMPLIANCE WITH CPLR 3215, 0 01/27/2022 DEPONENT GAVE A DITIONAL } THuIS a Ur
ACTION BY ENCLOSING 4 COPY GF THE SAID SUMMONS IN A FIRST Ch nee POSTPAID nS AW SAW
KELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF KESIDENCE AT 900 CO-OP | WAY! MI
Dee th BRONX, NY 10475-4000 AND DEPOSEDING SAID ENVELOPE Ix AN OFFICIAL INNA
OE Ch ree UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED eee ee POST WA NY
OF ei. THK wey HHL ‘ Fe BOR THE, LEGEND "PERSONAL AND CONFIDENTIAL" AND DED WS Sa
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OR CONCERNS AN ALLEGED DENT, UNECATION WAS WROD AN A HAS ANNI dee a
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Case No. “age No. CV¥-15269-21/BX

CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX

AFFIDAVIT OF SERVICE
na 20 : CV-19269-21/8X
Date Index Nomber Purchased: 12/27/2021
Plaimiff(s): SYNCHRONY BANK
vs.
Defendant(s): FREDERICK K MANTEY
NEW YORK
WESTCHESTER $8:

BENJAMIN LAMB, the undersigned,

ard

being duly swom, deposes and says:
Lam over the age of 18 years and not « party to (ho action. I reside In the state of New York.

On 01/25/2022 at 4:25 PM, I served the within SUMMONS AND COMPLAINT with the index#CV-19269-21/BX
endorsed thereou on FREDERICK K MAN'TRY at 1450 PARKCHESTER RD APT 6C , BRONX, NY 10462 in

the manner indicated below:

SUITABLE AGE: by delivering thereat a true copy of cach to June Doe (refused , Coresident of
FREDERICK K MANTEY, « person of suitable age and discretion. Said premises is FREDERICK K MANTEY's
usual place of abode within the siatc,

On 01/31/2022, of name in a first class postpaid envelope bearing the words “Personal &
Confidemial” linea wo a and defendant's last known residence, at 1450 PARKCHESTER RD
APT 6C , BR 10462 and deposited said envelope in an official depository under the exciasive care anc
custody of the U.S. Postal Service within New York State. The envelope did not indicate on the outside thereof, by

return address of otherwise, that the communication was from an attorney or concerned an action against the lefendant.
A description of the Recipient, or ather person served on behalf of tie Recipivat is as follows:

Sex Color of skin Color of hair Age Height Weight
Vemale Black Black 4s 5ft Gin - Stt din 131-160

Other Features: glasses

Lasked the person
State of New York

i to whether beshe Defendant was in the aclive military service of the United States or of the
n any capacity whatever and received a negative reply. The source of my infornmtion and belicf are

the conversations above narrated. Upon information and belie f aver that the recipient i not in the military service of
New York State or of the Uniled States ay that term us defined tn citler the State o¢ in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3255

IN COMPLIANCE WITH CPLR 3215, on 01/31/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SATD SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACK OF RESIDENCE AT 1450
PARKCHESTER RD APT 6C, BRONX, NY 10462 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE, THE ENVELOPE BORE THE LEGEND "PERSONAL, AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY

OR CONCERNS AN ALLEGED DEBT,

Sworn to wid subscribed before nee on 01/21/2022

Web axe birt a

Melisss A. Cyran

Notary Public, Mote Of New York
No. O1CY6228619

Qualified in WESTCHESTER

Cormmaission Expires $2712?

Document: iof 1

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DOA Liconse#, 2027471 bite : i

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RAPE REREY HALE TA
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FILED: BRON TV, COURT. (RDD
Case No. C¥-18270-21/8x
CIVIL COURT OF THE STATE OF NEW YORK COUNTY AIM
OF BRONX
AFFIDA SERVICE #819204
ie Index no : CY-19270-21/BX
Date Index Number Purchased: 12/27/2021
Piaintiff{s): SYNCHRONY BANK
v3.
Defendant(s): KIMBERLY MARIN
NEW YORK
SS.:

TEpDS), UL{sifavee 12:36 PM

a SOU rx S

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says:
am over the age of 18 years and not a party to the action, I reside im the state of New York.

0 022 at 4:34 I served the within SUMMONS AND COMPLAINT with the index#4"V-19270-2U8X
ae resd aaa oo RiNBERLY MARIN ot 1690 METROPOLITAN AVE APT S® , BRONX, NY 10462 in the
manner indicated below:

SUITABLE AGE: by dchivering thereat 4 true copy of each to Anthony Doe (refused last name), co-resident of

KIMBERLY MARIN, a person of suitable age and discretion. Said premises is KIMBERLY MARIN's usual plsce
of ubode within the state.

On 61/31/2022, deponent enclosed a copy of same ia a first class postpaid! envelope bearing the words “Personal &
Confidential” y atidressed to defendant and defondant’s last known residence, al 1690 METROPOLITAN AVE
APT SF , NRONX, NY 10442 and eo said cavelope in un official depos under the exclusive care and
custody of the US, Postal Service within New York Stale. The cevelope did not indi on the outside thereof, by
return address of otherwise, thal the communication was from an attorney or concerned an action against the defendant.

A description of the Recipient, or othor person seeved on behalf of the Recipient iv as follows:

Sex Colar of skin Color of hair Age oight Weight
Mate Brown Black 8 Sft Min - 6 Oin 161-200

Other }tcutures: Mustache beurd

Tasked the person spoken to whether be/she Defendant was in the uctive Miltary service of the United States or of the
Suuc of New York in any capacity whatever and received a otgttve seply. The source of my information and belief are
the comvermations above nacnuted, Upon laformation and belief | aver that the recipaent is not lu the military service of
New York Suce of of the United Stwtes as that tern is defined incites the Stute of in the Hederal statutes

ADDITIONAL MAILING PURSUANT TO 3285

IN COMPLIANCE WITH CPLR 3215, on 01312022 DEPONENT GAVE WHONAL NOTICE :
ACTION BY ENCLOSING A COPY OF TIP SAID SUMMONS INA ESTE ‘LASS TOSTPALS Rte
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF KESIDENCE AT 1690
METROPOLITAN AVE APT SF, BRONX, NY 10462 AND DEPOSITING SALD ENVELOPE IN AN
OTFICTAL DEPOSITORY UNDER THK EXCLUSIVE CARE AND CUSTODY OF THE UNTERD STATES
POST OFVICH, TLE ENVELOPE BORE THE LIGGEND "PERSONAL AND CONFIDENTIAL” AND DID

NOT INDICA TICON THE OUTSIDE THERE OP THAT THE CON INICATIO! ; :
ATTORNEY OR CONCERNS AN ALLEGED DET. PL CATION WAS YROMT AS

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YH, A hh BENUAMIN LAMB | TTT

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Case No. CV-19255~-21/Bx

CIVIL COURT OF THE STATE OF NEW YORK COUNTY
sr 0

APRIDAVIT OF SERVICE ti

Index oo : CV-19255-21/BX
Date index Nember Purchased: 32/27/2021

BENJAMIN LAMB, tho urciersigned, being
Lam over the age of 18 years and nol a party t the action. I reside

in the
On 01/25/2622 at 5:46 PM, | served the within SUMMONS AND COMPLAINT with the Index#CV-19255.21/8X

eudorsed thereon on MIGUEL GOMEZ « 1776 CASTLE. BILL AVE APT 6N , BRONX, NY 10482 in the
manner indicated below:

E

sworn, depeses and says:
state of New York.

SUITABLE AGE: by delivering thercat a true of cach to Lena T: co-reaident of MIGUEL GOMEZ, oe
person of suitable age and dleceetion, Said presilace is MIGUEL GOMEZ's useal place of abode within the statc.

On 01/31/2022, deponem enclosed a of same in a first clasu postpaid envelope the words “Personal &
Confidential” ty addressed to and defendant's last known residence, at 1776 CASTLE HILL AVE
APT 6N, BRONX. NY 10462 and deposited said envelope im an official depository ander the exchosive care and

custody of the U.S. Posial Service within New York State, The envelope did not indicate on the outside thercof,

by
return edress or otherwise, that the communication wus from an attommey of comcemed an action against the defendant.

A description of the Recipient, o¢ other person served on bebalf of tho Recipient is as follows:

Sex Cobor of skin Color of hair Age Height Weighs
Femute Brown Brown 40 5ft 4in - ST Gin 131-160
Other Foamures: accent

1 asked the person s

pokes to whether he/she Defendant was in the active military service of the United Stutes or of the

Statc of New York im aay cupacity whatever and roceived a negative reply, The source of my information and belic! are

the conversations above narraicd. Upos information anc belief 1 ever dint the recipient is mot in the military service of
Now York State or of the United States ax that term |s defined in either the State or in the Federal statutes.

ADDITIONAL MAILING PURSUANT T'O 3215

IN COMPLIANCE WITH CPLE 3245, oa 01/31/2022 DEPONENT GAYE ADDITIONAL. NOTICE OF HIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS

IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1776
CASTLE IILE AVE APT @N, BRONX, NY 10462 AND DRPOSI'CING SAID ENVELOPE IN AN OFFICIAL
VEPOSTTORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITE STATES POST
OFFICE, THE ENVELOPE BORF, THE LIGGEND "PERSONAL AND CONFIDENTIAL” AND DE NOT
INTICATE ON ‘LHE OUTSIDE THEREOF THAT THE COMMUNICATION W

AS FROM AN ATTORNEY)
OR CONCERNS AN ALLEGED DERT,

Sworn te) und subarnbed belive me on DES 2022 x. Wi (per ——3: UP cu Ue aan \ |
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Hy Hl No. MEV 6228614 Hieliatl HM OE AT OA Peviih i ‘\ Wy) VRE AUAAD Ad) {'\
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Case No. CV-18094-21/8%
CIVIL COURT OF THE STATE OF NEW YORK COUNTY
on OF BRONX |

a | i A ladex no : CV-18084-21/BX
Cadex Number Purchased: 11/18/2021
Phaintifi(s): CAPITAL ONE BANK (USA), NLA.
vs.
Defendant(s): FRANCISCO 8 OTERO ,
!
NEW YORK i |
WESTCHESTER 88:
BENJAMIN LAMB, the undersigned, being duly swom, deposes and says: |

Lam over the age of 18 years and not a party to the action. J reside in the state of New York.

On 01/26/2022 at 6:29 PM. 1 served the within SUMMONS AND COMPLAINT with the Index#CV-18094-2 /BX
endorsed thereon on FRANCISCO S$ OTERO at £915 Andrews Ave. APT 3N, Bronx, NY 10453 in the manner |
indicated below:

SUITABLE AGE: by delivering thercat a tree
OTERO, a person of saltable age and dixcretion.
withio the sialic,

On 01/31/2022, deponent enclosed a copy of sane in « firut clasn postpaid envelope bearing
Confidentia,” y addressed to defendant and defendant's last known residence, at 1915 Andrews Ave. APT 3N,
Bronx, NY 1 and deposited said cavelope in an official depository under the exclusive care and custody of the

US, Postal Service within New York State, The envelope did not indicate on the outside thereof, by return address or
otherwise, that the communication was from an attorney or concerned an action against the defendant.

A description of the Recipient, or other person served on behalf of the Recipient ix as follows: |

of cach t Gloria Ramos, co-resident of FRANCISCO $ |
premises is FRANCISCO $ OTERO's usual place of abode |

the words “Personal &

Sex Color of skin | Color of hair Age | Height Weight |
Female _| Brown Hlende 2 Sf in - Sf Sin 131.160

Other I'calurcs: accont, glasses |

[asked the person spoken to whether he/she Defendant wus in the active militery service of the United States or of the
Stutc of New York in any capecity whatever and received 4 negative roply. The source of my information and belief are
the conversavens above narréed. Upon information and belicf Ut aver thut the Fecipuciat ix not in the: military service of

New York State o¢ of the United Stttes as thut term is definad in either the Seate or in the Federal statutes,

ADDITIONAL MAILING PURSUANT TO 3215 sy
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IN COMPLIANCE WITH CPLR 3215, on 01/31/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPATID Tet
ENVELOPE ADDRESSED 10 DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE A'T 1915
Andrews Ave. APT 3N, Bronx, NY LIMS3 AND DEPOSITING SALD ENVELOPE IN AN OFFICIAL, th
DEPOSI PORY UNDER TIE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST |
OFFICE. Vik. ENVEI AP’ BORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FRY MAN ATTORNEY

OR CONCERNS AN ALLEGED DERT.
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No White Plainy NY (OOD) | | |

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Sworn to and subscribed hefure me on OUT /22 x

Notary Publiv, Sate Of New York

No. HICYG22R619

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Case No. CV-19262-21/38xK ]

CIVIL COURT OF THE STATE OF NEW YORK COUNTY ©
OF BRONX
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AFFIDAVIT OF SERVICE

Index no : CV-19262-21/8X
Date Index Nuraber Purchased: 12/27/2021

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says: VN ie tg
Tam avertdes ageaf Eepeearand nexpentrete caer Reaec tees cs ls 1 |

On 01/27/2022 at 11:35 AM, | served the within SUMMONS AND COMPLAINT with the index#CV-19262-20/8X. Tih
endorsed thereon on JANET FORBES A/K/A JANET MURDOCK ot 907 E 221ST ST APT 4F,BRONX,NY ||

10469 in the manner inddcated below:

| wit
SUITABLE AGE: by delivering thereat a true copy ef exch to Thomas C., co-resident of JANET FORBES A/KJA Hn iy
JANET MURDOCK

\/
, & person of suitable age and discrotion. Suid premises is JANET FORBES A/K/A JANET WaNteMTn vat
MURDOCK’s vaual place of abode within tas

Oo 01/31/2022, deponent enclosed a copy of same in a first class postpald envelope be ing the words “Personal & My (\
Confidential” addressed to defendant and defendant's last knawn residence, at E2218T ST APT 4F, . nh
BRONX, NY t and ted said envelope in an official depository under (he cxckusive cave and custody of the na
U.S. Postul Service within New York State. The envelope did tot indicate on the outside thereof, by return addvess or yt
otherwise, that the communication waa from an attoracy or coecemed an action agiinst the defendant hi!

A description of tho Recipient. or other person served om belalf of the Rocipacat is as follows: ey

Sex Color of skin [Color oftmir | Age | Hoight Weight van
Male | Binck Black 48 Sf Tin - She 96 131-160 Aya et eat
Crber Keaturos: moustache, accent (Caribbean)

Lasked the person spuken to whether hele Defendant wax in the active military service of the United States or of the Vv iN
State of New York in any capacity whatever and foceived 0 negallve reply. The source of my information and belief are | ||)! ui

the comversations above narrated, Upon information and helied | aver that the reipicnt is not in the military service of LAM ynaty
New York State or of the United States es that term is defined in either the Stivte ce an the Wt yeti

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ADDITIONAL MAILING PURSUANT TO 4215 } TOY

IN COMPLIANCE WITH CPLA 3215, on 01/31/2022 DEPONENT GAVE ADDITIONAL NOTH
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A PKS ELST NY
ENVELOPE ADDRESSED DO DEFENDANT AT DEEKNDANT'S PLACK OF RESIDENCE AT 907 & 22187 NK A

ST APT 45, BRONX, NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL DEPOSITORY VER
UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE

ENVELOPE BORE THE LEGEND “PERSONAL AND CONMDENTIAL” AND DID NOT INDICATE ON
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Case Ro. cV-1998s-2e fag’ O4108-ALG Document

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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX rat
AFFIDAVIT OF SERVICE hi

Higa | Index no : C¥-19253-21/BX
Dato Index Number Purchased: 12/77/2021
Plaintiff{s): CAPITAL ONE BANK (USA), NA.
va,
Defendani{s): WILLY A LOPEZ
NEW YORK
su:

BENJAMIN LAMB, the undersigned, being duly sworn, depeses and
1 am over the age of 18 yours and not a party to the action. [ reside in

On 01/27/2022 at 11:52 AM, I served the wkhin SUMMONS AND COMPLAINT with the index@CV-19253-21/BX
endorsed thereon on WILLY A LOPEZ at 3221 COLDEN AVE APT ID , BRONX, NY 10469 im the manner

inchcated below:

Se eee eee eet of cach to Jane Doc (refused name), co-resident of WILLY A
LOPEZ, 2 person of suitable age and discretion. Said premises is WILLY A LOPEZ 's usual place of sbode within the
state.

On 01/31/2022, deponent enclosed a copy of same in a first class postpaid cave the words “Personal &
Confidential” addressed to defendant and defendant's last known easaae: at 3221 COLDEN AVE APT ID

BRONX, NY 1 and deposited said envelope in an official depository uncler the exclusive caro ark custody of the
U.S. Postal Service within Now York Stato, The eovelope did not indicate on dye outside thereof, by return address of
otberwise, that the commenication was from an wtomey or concersed nn nection against the defendant.

A description of tbe Recipient, or other person served am behalf of the Recipient is as follows: |!

I asked the person spoken to whether he/she Defendant was in the active militury service of the United Suues or of the

State of New York in uny capacity whitever and received a nogative reply, The source of my ssferniatior und belief ere

the conversations above narrated. Upon Lafoenmtion and belief | aver that the recipieat és mot in the military service of ||| |
New York State or of the United Stutcs as that term ix defined in either the State ur in the Federal statutes.

ADDITIONAL MATLING PURSUANT TO 3215

IN COMPLIANCE WITH CPLE 3245, on 01/31/2022 DIEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS EN A FIRST CLASS POSTPALD
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3221
COLDEN AVE APT 1D, BRONK, NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFECTAL. HH
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LPGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMIUINIC ATION WAS FROM AN ATRORNIY
UH CONCERNS AN ALLEGED DEBT. i | i) i
| i] | ; :
Sworn to and subscribed before mee due O1L/2022 44 Lett : Ue ee

BEAVAMIN LAMI | i
he, ; Wye Ehcensict 111499 |
aE LEC OPEL |||), Zam Peoceas Service, Ine Nhl

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Sex Colorofxkin _|Colorofhair _JAge _ | fleight Weight
Fonule Brown Brown 4s Sft Gin - 5ft 3in 131-lM
Other Features: accent, ghaswos I)

ry
Mo. CV-19259-21/Bx
CIVIL COURT OF THE STATE OF NEW YORK COUNTY OF

AFFIDAVIT OF SERVICE a
Date Indox Number Porchased: 12/27/2021
Phaintiff(s): CAPITAL ONE BANK (USA), N.A.
vs.
Defendant(s): NAOMI A PEMBERTON
NEW YORK
WESTCHESTER Bs.

BENJAMIN LAMB, the undersigned, being daly sworn, deposes and says:
Lam over the age of 18 years and not a party to the action. | reside in the stato of Now York.

On 01/27/2022 at 12:07 PM, | served the within SUMMONS AND COMPLAINT with the Index#CV-19259-2 /BX
endorsed thereon oo NAOMI A PEMBERTON ai 3009 WILSON AVE , BRONX, NY 10469 in the manner indicated

INDIVIDUAL: by delivering thereal a truc Fane es ee ent knew the person so served to
be the person described herefa by dapanant sakiag the pecsos if he or ahe the named Recipient and the person responding
that he or she is in fact the person named in this action as the
A description of the recipient served is as follows:

Sex Color of skin Color of hair Age __| Height Weight

Female Black Black 40 Sf Oin - 5M Jin 131-160

Other Features: glasses

| asked the person spoken to whether he/she Defendant was in the active military service of the United Statcs or of the State
of New York in any capacity whatever and received a reply. The source of my information and belicf are the

conversations above narraled. Upon information and belief I aver that the recipient is not in the military service of New York
State or of the United States as term is defined in cuther the State or in the Fedcral statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPIAANCE, WITH CPLR 3215, on 01/31/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID ENVELOPE
ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3009 WILSON AVE, BRONX,
NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL DEPOSITORY UNDER THE EXCLUSIVE
CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE ENVELOPE BORE THE LEGEND
“PEKSONAL AND CONFIDENTIAL” AND DID NOT INDICATE ON THE OUTSIDE THEREOF THAT THE
COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS AN ALLEGED DEM,

Zo
Sworn to and subscribed before me on 01/41/2022 X He oe

BENJAMIN 1AM

eee 1071492 tec
and F Process Service, fine
Cale lL Jar Mian 901 North Broadway Ste 18
Melissa A. Cyran N. White Plains. NY 106035
Notary Pablo. State Of New York 914-328-1069
No, DAC Y62 286019 DCA License: 202747)
Qualified in WESTCHESTER Branch: White Plains
Commission Expires 9/27/22

Atty File#; N4A677%3

® Mest Document: 1 of 1
Case Wo. CV-19250-21/Ex

Y GEVIL COURT [Bbbay O17si/soes, 15:40, Fe

D: BROMS COUNT A5

CIV COURT OF THE STATE OF NEW YORK COUNTY
*ODELB"

AFFIDAVIT OF BERVICE
Index no 1 CY-19250-2L/8%
Date Index Namber Puschasec: 12/27/2021
Pinintiff{s): Midland Cred Management, Inc
vi.
Dofiendanc(s): EUGENIA TAYLOR
NEW YORK

WESTCHESTER $s.

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says:
1 am over the age of 18 years end not ® party to the action. I reside in the atate of New York,

On 01/27/2022 at 12:23 PM, | sorved the within SUMMONS AND COMPLAINT with the index#CV-19250-21/BX

endorsed thereon on EUGENIA TAYLOR wt 2722 DEWITT PL FL 2, BRONX, NY 10469 in the manner
indicated below:

SUTTABLE AGE: by delivering thereat » true copy of cach to Melvin P., co-resident of EUGENIA TAYLOR, a
person of suitable age and discretion. Said premises is RUGENIA TAYLOR'S usual place of abode within the state.

On O1/31/2022, deponens enclosed a copy of same in a first class postpaid envelope bearing the words "Personal &
Confidential” properly addressed to defendant and defentiant's last known residence, at DEWITT PL FL2,
BRONX, NY f and deposited ssid cnvelope in 2n official deponitory under the cxclusive care and ¢ of the
US. Postal Service within New York State, The envelope did not indicate oa the ovtside thereof, by retum or
otherwisc, that the communication was from an aitomey of concerned an action against the defendant.

A description of the Recipient, or other person served oa behalf of the Recipicnt is as follows:

Sex Color of skin Color of hair Age |Heighs Weight
Mate Black Black 50 Sft 101m - Gf Gin 161-200
Other licatures: neastache,beard

Lasked the person spoken to whether he/she Defendant was in the active military service of the United States or of the
State of New York in any capacity whatever and recvived a negative reply, The source of my information and belief are
the conversions above narrated. Upon inforretion and Selief | aver thal (he recipient is not in the military service of
New York State of of the United States as that term is defined in cither the Statc or im the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 01/31/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 2722
DEWITT PL FL 2, BRONX, NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSTPORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL" AND DM NOT

INDICATE ON THE OUTSIDE THEREOP THAT THE COMMUNICATION WAS PRI MAN ATTORNEY
OR CONCERNS AN ALLEGED DEBT, ea
UW itt

Sieorn to and seabscrihed before me on 01/31/2022 Mess. teee Tin Ay I
| HENJAMIN LAMB Wilts
? License: 10171492 Wit Wii]
Lt few Hin | 3 aml B Process Service, Ine

Melisa A. Cyran pit 90! Nocth Broadway Ste 18 Hi)
Notary Public, State OF New York a N. Whav Plies, N'Y! Ideas WL HM
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Qualified in ‘WESTCHESTER | 5) DOA Licensem: 2027471 i Wy Tel
Commision Rxpices 927/22 1) 1) Braet: Waite Pains APA aT aN

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FILED: 2:05 PM CLAIM ND, CAVA i-isrosn,)
NySCEF Doc. NO~@RS ocument 3-20 Filed.05/30/24__ P ._ 9/07/20:
CIVIL COURT OF THE STATE OF NEW YORK COUNTY 7
OF BRONK |
AFFIDAVIT OF SERVICE |  wapaege
| Index no ; CV-18091-21/8X
Date Index Number Purchased: 11/18/2021
Plaintiff{s): SYNCHRONY BANK
va.
Defendants): __—s WILFREDO CABRERA JR
NEW YORK
58.
BENJAMIN LAMB, the undersigned, being duly sworn, depeses and

saa ver the age of 18 yours end woe’ party io tha eaten. Leann in the we oF Now York.

On 01/31/2022 at 2:03 PM, 1 served the within SUMMONS AND COMPLAINT with the index#@CV-16091-21/8X

endorsed thereon on WILFREDO CABRERA JR al 1600 VAN CORTLANDT PARK 8 APT C34, Bronx, NY
16463 in the manner indicated below:

SUITABLE AGE: by delivering thereat a true of cach to Samantha Rivera, cotenant of WILFREDO
CABRERA JR, « person of ieee

surtable age and ciscretion. Said premises is WILFREDO CABRERA JR's usual
of abode within the state Pee ee Re ey eae

On 02ON2022, deponent enclosed a copy of sanve in « first class postpaid envelope bearing the words “Personal &
Confidential” addressed to defendant and defendant's last known residence, a1 100 VAN CORTLANDT

PARK S APT CM, nx, NY 10463 and deposited said cavelope in an official under the exclusive care
and custody of the U.S Postal Service within New York State. The envelope did ot tadicate on the outside thereof, by
retum address of otherwise, that the communication vas from an attomey of concented an sction against the defendant.

A description of the Recipient, or other person served on behalf of the Recipicnt ts as follows

Sex Color of skin Color of linir Age Height _ Weight
Female Brown Auburn MM Sf 4im - Sf Gin 131-100

Other Peatures; accent

J asked the person spoken te whether he/she Defendant was in the active military sorvice of the United States or of the

State of New York tn any ceapecity whutever and received 1 negative reply. The source of ory information and belicf are

the conversations above narrated. Upon information and belie! | aver that the recipicnt ix not im the military service of
Kew York State or of Uk United Surtes as that tore: is defined in either the Suite or in the Bederal sustutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 02/01/2022 DEPONENT GAVE. ADDITIONAL NOTICE OF THES
ACTION BY ENCLOSING A COPY OF THLE SAID SUMAMIONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED 10 DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 100 VAN
CORTLANDT PARK S APT C34, Brona, NY 10463 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL
DEPOSITORY UNDER TIE EXCLUSIVE CARE AND CUSTODY OF THEE UNITED STATES POST
OFFICE. THE ENVELOPE BORE, THE LEGEND "PERSONAL, AND CONFIDENTIAL" AND DID NOT

INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS EROM AN ATIORNEY
OR CONCURNS AN ALLEGED DEBT.

Swoen to and subscribed beface mc on OZWVI022 x ji iene a

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J BHENJAMEN LAME
Vi i Hieursel: 1071492
Lu At Get Teel Tan [i Process Sererer, Ine

Melissa A. Cyran hi Wt North Heomway Ste 18

Notary Public, State OF New York |!) | ON. White Plans, NY 10603 ba spaicet py
0h No, OLCYS223619 ii O)4-428-1068 Lit i
Qualified in WESTCHESTER iy DCA Licermeds 2027471 Bent it.
Commission Uspires 9/27/22 | Breach: While Plains Hi
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On 02/82/2022 at 10:46 AM, I served the within SUMMONS AND COMPLAINT with the index®CV-19252-21/8X
endorsed thereon on KARINA D VELEZ at 3073 BUIIRE AVE APT 5E , BRONX, NY 16461-4737 in the manner
indicates below:

SUITABLE AGE: by delivering thereat a true copy of each to Michael P., co-resident of KARINA D VELEZ, a
person of miltable age and discretion. Said premises is KARINA D YELEZ's usual place of abode within the state.

On 02/03/2022, deponent enclosed a of same in a first class postpaid envelope the words "Persons! &
Confidential” rly addressed is afc und defendant's fast known residence, at BUHRE AVE APT SE,
BRONX, NY 10961-4737 and deposiicd said envelope in an official under the exclusive care and custody of
the U.S. Postal Scrvice within New York Statc, The did not indicate On the outside thereof, by retam address
or otherwise, that the communication was from an attorney of concemed an action against the defendant.

A deacripthon of the Recipient, or other person served on behalf of the Recipient is as follows:

Sex Color of skin Color of hair
ale Brown Black
Other Reaturcs: mustache, beard

Leight
Sft 10in - 6% Gin

Weight
161-200

Age
42

asked the pemon + to whothar be/stho Defendant was in thy active military service of the United Stetes oc of the
State of New York in any capacity whatever and received @ Regative eeply, ‘The source of my information and belicf are
the conversations above narrated. Upon enfornation and belie! 1 aver thal the recepicnt is aot in the military service of
New York Statc or of the United States as that term is defined in ether the State or in the Pederal statotes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 02°01/2022 DEPONENT GAVE ADDITIONAL, NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3073 RUDIRE
AVE APT 5E, BRONX, NY 10461-4737 AND DILPOSITING SAID ENVELOVE IN AN OFFICIAL
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND “PERSONAL AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OL TSIDE THEREOF THAT THE COMMUNICA TION WAS FROM AN ATTORNEY

OR CONCERNS AN ALLEGED DENT. ade
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BENJAMIN LAN |
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CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX
AFFIDAVIT OF SERVICE | | eaese*
Index no - CV-19252-21/8%
Date Index Number Purchased: 12/27/2021
Pinintiff{s): TD BANK USA, NA.
vi.
Defendant(s): KARINA D VELEZ |
NEW YORK
WESTCHESTER sa.
BENJAMIN LAMB, the ondersignod, being daly swum, deposes and says:
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/Quulified in WESTCHESTER
Commission Expiros 927/27

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NYSCBP: 02/07/2922 -
CIVIL COURT OF THE STATE OF NEW YORK COUNTY
OF BRONX

AFFIDAVIT OF SERVICE *Ri Bene
Index no : CY-19263-21/BK
Date Index Number Purchased; 12/77/2021
Plaintiffs): SYNCHRONY BANK
vs.
Defendant(s): JOAN TOMANELLI
NEW YORK

WESTCHESTER as:

BENJAMIN LAMB, the undersigned, being duly swom, deposes and says:
Reais too of 18 years and van a party 1 the action. I reside in the mate of New York.

On 02/02/2022 ut 10:52 AM, I served the within SUMMONS AND COMPLAINT with the index#CV-19263-2U/BX
endorsed thereon on JOAN TOMANELLA al 1724 PARKVIEW AVE , BRONX, NY 10461 in the manner

indicated below:

SUITABLE AGE: by dali therest = true copy of cach to June Doe (refused name), co-resident of JOAN
TOMANELLL, a person of age and discretion. Said premises s JOAN TOMANELL!'s usual place of abode
within the state.

On 02/03/2022, deponem enclosed a of same in a first class postpaid envelope the words "Personal &
Confidential” sddsesved wo defendant and defendant's last known residence, at 1724 PARKVIEW AVE,
BRONX, NY 1 Mand depoetnd seid cmvelape in an officiel Gepostiocy units 0 Ste grorent by rel of the
U.S. Postal Service within York State. The envelope did not indicate an the outside thereaf, by return ress or

otherwise, thut the communication was from an attorney of concemed an action against the defendant.
A description of the Recipiont, or other person served on behalf of the Recipiont is as follows:

Sex Color of skin | Color of hair Age | Teight _ Weight
Female | While Brown und Gray 58 Sf Ofte « SM 3in 100-130
Other Features: glasses

L asked the person spoken to whether he/she Defrodant was in the active military service of the United States of of the
State of New York in any capacity whatever and received 4 negative reply. ‘The source of my information and beliei are

the conversations above narrated. Upon information and belief | aver that the recipient is not_jg the militury service of
New York State or of the United Statcs as that term is defined in either the Stute or in the ray stitutes.

ADDITIONAL MAILING PURSUANT TO 3215

TN COMPLIANCE WITH CPLR 3215, om 02/03/2022 DEPONENT GA VE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SATD SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1724
PARKVIEW AVE, BRONX, NY 10461 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL,
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST
OFFICE. THE ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY
Sworn to and subscribed befare me on 02/032022 x

OR CONCERNS AN ALLEGED DEBT, ed

BENJAMIN LAMB yi
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ea Cg He J and E.Procesy Service, Inc
bichssa A, Cyren Hen

901 Nowh Browdway Ste 18

Notary Public, State OF New York NS. White aims, N'Y 10600 Wat yead atti i

No. DICY6228619 OLA398- TY i
Qualified a WES TCHES [EK iy] DCA License#: 2027471 |

Commussion Lixpires 2/27/22 Brunet, White Plain | |

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. HO. 48214 : 62/07/2022
a CIVIL COURT OF THE STATE OF NEW YORK COUNTY OF ca i i
BRONX
619540

AFFIDAVIT OF SERVICE
Index no: C¥-19254-21/BX
Date Index Number Purchased: 12/27/2021
Pintntif(s): CITIBANK, NA.
va.
Defendani{s): MARYANN GECAY
NEW YORK

WESTCHESTER = sa

BENJAMIN LAMB, the undersigned, being swom, deposcs and says:
Tams ever doo agn‘of EB youn ta teh & Glany oo tio some: Teealie Wake ees eee vt

On 02/02/2022 at 31:12 AM, I served the within SUMMONS AND COMPLAINT with the Index#CV-19254.21/8X
endorsed thereon on MARYANN GECAY at 3063 BAISLEY AVE , BRONX, NY 10461 in the manner indicated below:

INDIVIDUAL, by delivering thereat a tric of cach to said ree! ocean oa knew tho person 20 served to
be the person described herein by deponant Gepanenithoctine § the named Recipient and the person responding
that he or she 1s in fact the person named in tks action as the Riccipient.

A description of the recipient served is as follows:

th
Sex Color of skin |Colorofhair [Age _ [Height Weight AWN
Female | White Brown 40 __ [5% 10in-6n0in [Over 200 NA
Other Features: WANN

loaked the spoken to whether he/she Defendant was is the active military service of the United States or of the State tT 0)
of New Yor in any Capacity whatever and teceived 3 negative reply. The sounce of my information and belief are the Wt
conversations above narrated. informudion end belief | aver thal the recipient is not im the tilitary service af New York
State or of dhe United Sues as that term bs defined in cither the State of in the Kecieral xtatues.

ADDITIONAL MAILING PURSUANT ‘10 4215 a
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tN COMPLIANCE WITH CPLR 3215, on 02/03/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS \\ NN Wit
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRS'T CLASS POSTPAID ENVELOPE AWN
ALDDRESSKD TO DEFENDANT AT DEFENDANT'S PLACK OF RESIDENCE AT 3003 BAISLEY AVE, BRO WW

NY 10461 AND DEPOSETING SAID ENVELOPE IN AN OFFICIAL rere UNDER THE EXCEUMIMES UNA

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COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS AN ALLEGED DEBT, AN iy
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AFFIDAVIT OF SERVICE

poc. NO. t 02/07/2022
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Makes CV¥-19261-21/BX
Dats Index Noraber Purchased: 12/27/2021

NEW YORK
WESTCHESTER au.

ENJAMIN LAMB, the undersigned, being ween, deposes and
Ce ee ee teased tak ena aie I peaide in the sinte of New York.

On 02/02/2022 at 11:27 AM. I served the within SUMMONS AND COMPLAINT with the index#CV-19261-2BX

cadorsed thereon on NICHOLAS D DIMARCO # 3214 RANDOLPH PL , BRONX, NY 18465 in the manner HERA
indicated below:

SUTTABLE AGE: by delivering thereat a true copy of cach to Stephanie Doe

(refused last name), co-rnsident of |
NICHOLAS D DIMARCO, a person of sultable age and discrecion. Said premises is NICHOLAS D DIMARCO's | |
sa ee tr e t |

On 243.2022, depenent of same in a first class postpaid envelope boaring the words "Personal &
Confidential p perl nen fees and decedan' as known rete, at 324 RANDOLPH PL,
BRONX, reer en onvelope in an offic eras ¢ the exclusive care and custody of the

US. Postal Service within York State. The envelope did not indicate on the outside thereof, by return address on
otherwise, that the communication was from an atternoy of coacerncd an action against the defendant. Ht

A description of the Recipient. or other person served on behalf of the Recipient is as follows: |

Sex Color of skin Calor of hair Ape | eight Weight 1 |
Femule | White Brown Sf Oln - SM 3in 131-160 |
Other Beatures: plasses |

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Tasked the person spokes to whether he/she Defendant wan it the active militury service of the United States of of the |
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State of New York in amy capacity whatever and received a mogalive reply. Tho source of my information sad belief are 11}
the couveralions aboye aurrated. Upon infernution and belief I nver that the recigient ts not in the military service of (iii
New York Sate or of the United States as dhat term is defined in either the State! Huhe Foderal siatates.

ADDITIONAL MAILING PURSUANT TO 4afs Nn

iN COMPLIANCE WITH CILRE 3215, on 02/092022 DEFONENT GAVE ADDITIONAL NOTICE OF THIS ii
ACTION BY ENCLOSING A COPY OF THE SATD SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 3214
RANDOLPH PL, BRONX, NY 16465 AND DEPOSITING SALD ENVELOPE IN AN OFFICIAL 1'|!| i
DEPOSITORY UNDER THE EXCLUSIVE CARE AND CUSTODY OF 'TUE. UNITED STATES POST

OFFICE. THE ENVELOPE BORK THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT | tH]
INDICATE ON THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS PROM AN ATTORNEY

OR CONCERNS AN ALLEGED DEBT,

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4 11]
Swot to and subscribed before cae on (ARIE? x Ha LN |

BENJAMIN LAM LT ii tl! HN
Licensed: 1071492 ||| ul
Whiten lerutas hand Ht Proven Siavikio dene! {4 |
Melissa A. Cyran RH North lealecay Ste 08
Nosiury Public, Stags OW New Yeerk 1) ON Whtie Ping, NY 10603) MMA
No, OLOYO228619 Po) |) Sas 2a Moee
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FROME GOUNTY INL COURT ARDS) Uazaaean
Case No. CV¥-18789-21/5%

CIVIL COURT OF THE STATE OF NEW YORK COUNTY 3
| wee

a 10:55am

AFFIDAVIT OF SERVICE
’ Index no ; CV-18789-2L/8X
Date Insdox Number : 12/10/2021
Pinientiff{s): CAPTTAL ONE BANK (USA), N.A.
2.
(Defendant(s): _GARY W BROWN
NEW YORK
BS.

BENJAMIN LAMB, tho undersigned, being duly sworn, deposes and says:
[aes over the ago of 18 years and not @ party to the action, | reaide in the state of Now York.

below:

SUTTABLE AGE: by deli thereat a trac af cach to Oftvia S., co-resident of GARY W BROWN, a person
of seitable age and Sracn Bid omit Y W BROWN's asuul place of abode within the stnte.

Ga 02/16/2022, deponent coclosed 4 of same in « first class postpeld cavelope bearing the words "Personal &
Confidential” addressed to defendant and defendant's last known residence, at Fenton Ave. APT 2,
Bronx, NY f and deposited said in an official depository under the caclusive care and custody of the
U.S. Postal Service within Now York State, cavelope did not indicate on the outside thereof, by return address or
othorwikc, that the communication was from an attamcy or concersed an action aginst the defendant.

A description of the Recipient, or other person served on behalf of the Recipicnt is ux follows:

Sex Color of skin Color of hal Hoiglat Weight
Female Biack Mack MM 50 4in - 51 bin 131-160
Other Fentures:

I asked the person spoken to whether he/she Defendant was in the active military service of the Unieed Suutes or of the
State of New York in avy capacity whatever arid received a negative reply. The source of ory information and belle! ase
the coeverations above narmded. Upon information and beticf | awer that the recipiem is pot in the military service of
New York Static or of the United States as that teem is defined ta either the State or m the Federal statutes.

ADDITIONAL MAILANG PURSUANT TO 3215

IN COMPLIANCE, WITH CPLR 3255, ov 02/16/2022 DEPONENT GAYE ADDITIONAL NOTICE OF THIS
ACTION BY ENCLOSING A COPY OF THE SALD SUMMONS IN A FIRST CLASS POSTIAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDUNCE AT 3309 Fenton
Ave. APT 2. Brons, NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL DEPOSITORY
UNDER THE EXCLUSIVE CARE AND CUSTODY OF TILE UNITED STATES POST OFFICK. THE
ENVELOPE BORE THE LEGEND “PIHRSONAL AND CONFIDENTIAL” AND DID NOT INDICATE ON

THE OLTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORSY OR CONCERNS
AN ALLEGED DEBT.

Swore to aid subscribed before me om 02/16/2022 Mil sa Ny 2 pele alee abit eae |
ale i, Brea LAE
_ jmounsedw, TF TS92
Lub, Atl Uy. | 1) PRR 5 tase Ber vde Te
Mictissa A. Cyran 90) North Hrratiwoy So 18
Notury Peblic, Suite Of New York 1 IN. Wihioe Plaias, NY fOGU3
(Ne. O1CY6228619 | JY) 194.328 1n69 | |
||| Qualified in WESTCHESTER I LCA Licenseit 202801 |
Commission Rapin 0/27/22 Pai Hiwnet: Whaid Phitiy i}

| | | Atty Bile NaGn2 Ee
I | | WK At
| ‘> | ; | '
LED: BRONX, COUNTY, CEVal COURT. {BD
Came Mo. CV-19251-21/8%

Bay Wa/asysdae 10:59, 5a

CIVIL COURT OF THE STATE OF NEW YORK COUNTY —
OF BRONK 7
| pei] wT. Ite

AFFIDAVITOP SERVE
Index no ; CY-19351-2U/BX
Date Index Nombes Purchased: 12/27/2021
Phainciffis) Midland Credit Management, Inc
we.
Defendani(s): RHYS GARDNER
NEW YORK
s.

BENJAMIN LAMB, the undersigned, being duly sworn, depoece and says:
1 ama over the noe off 18 yoats a4 not © party te the acc, Uouica in thn sats Of New York.

On 02/18/2022 at 11:57 AM, I servod the within SUMMONS AND COMPLAINT with the isdex@CV-19251-21/BX
endorsed thereon on RHYS GARDNER at 100 Benchicy Pl APT 7K, Bronx, N¥ 10475 in the manner indicated

SUITABLE AGE: by delivering thereat 1 we of cach to June Doe (refused ce-resident of RHYS

GARDNER, a person of suitable age and ci o. Said premises is RHYS GARDNER'‘s usual place of abode
within tho state.

On 02/22/2022, deponent enclosed a copy of same in a first class postpaid envelope Bearing the words "Personal &
Cone Pome addressed to defendant and defendant's last known reakicnce, at 1 PLAPT 7K,
Bronx, NY 1 and deposited said in an official depository under the exclusive care and custody of the
U.S, Postal Service within New York State, ‘The envelope did not indicate on the outsile thereof, by return address or
otherwise, that the cominunication was from an altormey or concemed aa action against the defendant,

A deacription of the Recipient, or other pexson served on belulf of the Revipicnt is as follows:

Sex Color of skin Color of hair Age Height Weigle
Fernake Brown Brown 32 5h Gin - 5M Jin 131-160
Ovher Features: glasses

Lusked the person spoken to whether he/she Defendant was in the uctive military service of the United States or of the
State of New York in any capecity whntcycr nnd received & negative reply. The source of my information and belief are
the conventions above narrated. Upon information and beticl 1 aver that the recipient is not in the military service of
New York State or of the United States as that term ts defined in citlver the State or im the Federal stuttes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 02/22/2022 DEPONENT GAVE ADDITIONAL NOTICE OP THIS
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACK OF RESIDENCE AT 100 Bonchley
PLAPT 7K, Bronx, NY 10475 AND DRPOSITING SALD ENVELOPE EN AN OFFICIAL DEPOSITORY
UNDER THI EXCLOSIVE CARE AND CUSTODY OF THE UNITED STATIS POST OFFICE, TILE
ENVELOPE BORE THE LEGEND "PERSONAL AND CONFIDENTIAL" AND DID NOT INDICATE ON

THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS
AN ALLEGED DEBT,

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- hii}

Sweet to and subsesihed before me on 02/22/2022 x My asin

RENJAMIN LAMB aA
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a 7 el LA EEE art J oni hock Service, Ine

Melita ALU yran YU) Novil Reoadway Ste 18
Notary Public, Slate OF New York N. White Plaim, SY W004 ||

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No, O1CY6226619 144 14-22- [1169 ii |
(uatified in WESTCHESTER WH DXA Lacensc® 202 F471 rh
Commisson Kapives OF27/ 22 ney Beant), Wiati Plans

| hal } Atty beled: CFP SE } : | | |

Hai} Lat 2 |

TILED: BRONA COUNTS CLVIL COURT TEDDS}O3/03/2iea | Verse
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Cane No. CRE 1 V-04108-ALC Document 3-20: Filed 05/30/ f
VIL OF THE STATE OF NEW YORK COUNTY i| I
OF BRONX
SSR

SERVICE
ee Index no: C¥-19264-21/BX
Date Index Number Purchased: 12/27/2021
Piaintiff(s): TD BANK USA, N.A.
v8.
Defendant(s): DANTA VALDIVIESO
NEW YORK
as.:

BENJAMIN LAMB, the undersigned, being duly sworn, deposes and says:
[ am over the Le aes ee party to the action. I reside in the state of Now York.

02/24/2022 at $159 PM, | served the within SUMMONS AND COMPLAINT with the Index#CV-19264-21/8X
codorsed Gharesa Ga ASAE VALDIVIESO at 1361 Arnows Ave APT 2, Bronx, NY 10464 in the manner indicated

below:
SUITABLE AGE: by = thereat a true copy of each to John Doe (refused name), co-resident of DANIA

VALDIVIESO, 2 person of suitable age and discretion. Said premises is DANIA VALDEVIESO’s usual place of
abode within the state.
On 03/08/2022, deponent caclosed a copy of same in a first class postpaid envelope the words “Personal &

Confidential” rly addressed to defendant and defendant's last known residence, at 1361 Arnows Ave APT 2,
Bronx, NY 16469 » and deposited said re in sn official depository under the exclusive care and custody of the
U.S. Postal Service within New York State, The envelope did not indicate on the outside thereof, by return address or
otherwise, that the communication was from an attorney or concerned un action against the defendant,

A description of the Recipicut, or other person served on behalf of the Recipient is as follows:

Sex Color of skin Color of lair Age Height Weight
Male White Black 38 Sit L0in - 6ft Gin 161-200
Other Features: goatee, glasses

1 asked the person spoken to whether he/she Defendant was in the active military service of the United States or of the
State of New York in any capacity whatever and received a negative reply, The source of my information and belief are
the conversations above narrated. Upon information and belief 1 aver that the recipient is not in the military service of
New York State or of the United States as that term is defined in either the State or in the Federal statutes.

ADDITIONAL MAILING PURSUANT TO 3215

IN COMPLIANCE WITH CPLR 3215, on 03/08/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS : ?
ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FTRST CLASS POSTPALD

ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 1361 Arnows

Ave APT 2, Bronx, NY 10469 AND DEPOSITING SAID ENVELOPE IN AN OFFICIAL DEPOSITORY

UNDER THR EXCLUSIVE CARE AND CUSTODY OF THE UNITED STATES POST OFFICE. THE

ENVELOPE BORE THE LEGEND “PERSONAL AND CONFIDENTIAL” AND DID NOT INDICATE ON

THE OUTSIDE THEREOF THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS

AN ALLEGED DERT,

Swom to and subscribed before me on O3AR/2022 x Ais a DHE ty 4 4 }
Mh BENJAMIN LAMB Cee aE
Licensed: 171492 Pai Men ERIM BRST EE
OE 6441 | J and F Process Service, Ine HOU e Se eR Basia chy REA aR E EMIT
Melissa A. Cyran v OO North Browlway Ste 18 iPM eoieibian eee lginatcas Pl Ba
Notary Public, State OF New York tei} NL White Plains, NY 10603 iba HERE Etat hy HI
No. GICYG228619 Pen EE 904-398-1069 His oA Raa ad itekah Hip EATH Le
Qualified in WESTCHESTER i ; i pe lat DCA Livenseé: 202747) Lideie eae gee Tea bd THEE
Conunission Expires WIZ Branch: White Plains PLGg AEE EES Fettid PPPS EH OHI PEED L ed
ea SHE TT a
UMA OE eT RSE aH tty: Piles OS9S6 UTHER a HT

ities lites SVOboy

TTT PPTL ETE Head Hale
Phext Document |) Document: 1o0f 1 1 hal
oF FY SIVIL COURT (mEDeD Us/Ongucns OPrbs 4B 45
Case Mo. CV-19266-21/8X

CIVIL COURT OF THE STATE OF NEW YORK COUNTY |
OF BRONK
“63406"

AFFIDAVIT OF SERVICE
Index no : C'V-19266-21/BX
Date Index Number Purchased: 12/27/2821

Plaintiffs). CAPITAL ONE BANK (USA), NA.

vB.
[Defendann(s): __ RAAMESE BATTLE

NEW YORK
s8.:

BENJAMIN LAMB, the undcrvigoed, being swom, deposes and
Ree oD, ee ea ett party the ects 1 reahae no ate Of New Todt.

On 0401/2022 al 1:12 PM, | served the within SUMMONS AND COMPLAINT with the lodex#CV-19266-21/BX
endorsed Ghereon on RAAMESE BATTLE ut 120 Alcott Pl APT 32K, Brom, NY 10475 in the manner indicated

SUITABLE AGR: by dalivering therest a trac copy of each to Jennifer Smith, co-resident of RAAMESE BATTLE,
2 person of suitable age and discretion. Said premises is RAAMESE BATTLE's usual place of abode within the state. |
| \
On 03/08/2022, deponent enclosed a of sume in a first class postpaid onvelope the words "Personal & i
Confidential” addressed to defendwet and defendant's last known residence, #1 120 Alcott PILAPT 32K,
Brom, NY 16476 und deposited said envelope in an official depositary under the exclasive care anc custody of the | \
U.S. Postal Service within New York State. envelope did not indicase on the outside thereof, by return address oz hl
otherwise, that the communication was from an atlomey or concerned an action against the defendant. | )
; in
A description of the Recipient, of other person served on behalf of the Recipient is ax follows: i
Sex Color of skin _| Color af take | Age | Height _ Weight \\
Female Black Black 0 STi @in ~ Sit Jin £31-160 ‘il il)
| i}
Other Features: \ | \
J anked the person spoken to whether hevshe Defendant was in the uctive military service of the United Stases or auf the i} \
State of New York m any capacity whotever and received a rogutive reply. The souree of my information aad belief are \) lj
the conversations above narraed, Upon information ancl belict L aver thut the recipient is not im the military service of it) ii
a New York State or of the United States as that term is defined in cither the State or im the Kedersl statules. i \\
Hit ADDITIONAL MAILING PURSUANT TO 3215 WAN |
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yy IN COMPLIANCE WITH CT'LE 3215, on 03/08/2022 DEPONENT GAVE ADDITIONAL NOTICE OF THIS NH My
At ACTION BY ENCLOSING A COPY OF THE SAID SUMMONS IN A FIRST CLASS POSTPAID Wi \\y
ENVELOPE ADDRESSED TO DEFENDANT AT DEFENDANT'S PLACE OF RESIDENCE AT 120 Aiealt mat
APY 32K, Bronx, N¥ 10475 AND DEPOSITING SALD ENVELOPE IN AN OFFICIAL DEPOSITORY UNDER \\\ | Hi}
ii JHE EXCLUSLVYE CARE AND CUSTODY OF THE UNTTED STATES POST OPFICE, THE ENVERA PR. At} \K|
My PORE THE LEGEND "PERSONAL AND CONFIDENTIAL” AND DID NOT INDICATE ON THROUTSIDE |\\))\ I}
th THERROY THAT THE COMMUNICATION WAS FROM AN ATTORNEY OR CONCERNS AN ALLEGED \ il] \\
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Hi | BENJAMIN LAMB i} va Ba
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Wii j MELE! and Eh Drowess Seevdee Mme OUT Th }
Hil fclisse A coat. on f Ee eT Hee 20) Neath fiinadeay Sie 1S } ii i : Mil Wh
MU Noaury Public, Suite OF New Yok) Hn j N. Winte Piains, NY BOf yu ; ih i i WV iit
f i thy : Nu. ORC YG22AOT? ; iH} : iH} ff if Hii) 4t4-3 Ine? i Wik i} | tit! i : \
WH Qualified m WESTCHESTER i WH t/t) aS A Licenset! mea) Ht tht Wes TAI 1
"A i) Conuninsiou Expires 0/29422 HEAT i] fl} / Pkepnele Whate Plane HI WH i | i
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WH Wii . ’ tH oti HH HT ; Auy Filet) N4OAIAT Hil AIH | | | : \\
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| Wi) Wy} HAN i fifi i Hl) iy Hi Preeti t ; Hay : lit NTT : ' ] :
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